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                       Exhibit 3
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                                                                        1

                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
                       CIVIL ACTION NO. 15-6468 (FLW)(LHG)



        __________________________           :
        NEW JERSEY DEPARTMENT OF             : DAUBERT HEARING
        ENVIRONMENTAL PROTECTION,            :
        et al.,                              : JANUARY 9, 2019
                        Plaintiffs           :
                 v.                          : VOLUME 1
        AMERADA HESS CORPORATION,            :
        et al.,                              :
                        Defendants           :
        --------------------------



      CLARKSON S. FISHER UNITED STATES COURTHOUSE
      402 EAST STATE STREET, TRENTON, NJ 08608


      B E F O R E:       THE HONORABLE FREDA L. WOLFSON, USDJ


      A P P E A R A N C E S:

            MILLER & AXINE, PC
            BY: DUANE C. MILLER, ESQUIRE
                     -and-
            COHN LIFLAND PEARLMAN HERRMANN & KNOPF, LLP
            BY: LEONARD Z. KAUFMANN, ESQUIRE
                     -and-
            STATE OF NEW JERSEY
            DEPARTMENT OF ENVIRONMENTAL PROTECTION
            BY: GWEN FARLEY, DEPUTY ATTORNEY GENERAL
                     -and-
            BERGER MONTAGUE
            BY: TYLER E. WREN, ESQUIRE
            On behalf of the Plaintiffs
                                         (Continued.)




                                * * * * *
                       VINCENT RUSSONIELLO, CCR
                     OFFICIAL U.S. COURT REPORTER
                           (609)588-9516
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                                                                        2




      A P P E A R A N C E S           C O N T I N U E D:



      WEIL, GOTSHAL & MANGES, LLP
      BY: DAVID J. LENDER, ESQUIRE
                -and-
      ARCHER & GREINER, PC
      BY: CARLOS M. BOLLAR, ESQUIRE
      On behalf of Defendants ExxonMobil Corporation and
      ExxonMobil Oil Corporation


      GOODWIN PROCTER, LLP
      BY: MARK E. TULLY, ESQUIRE
      On behalf of Defendants Gulf Oil Limited Partnership
      and Cumberland Farms, Inc.
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                         C E R T I F I C A T E




                 PURSUANT TO TITLE 28, U.S.C., SECTION 753, THE

      FOLLOWING TRANSCRIPT IS CERTIFIED TO BE AN ACCURATE

      TRANSCRIPTION OF MY STENOGRAPHIC NOTES IN THE

      ABOVE-ENTITLED MATTER.




                                      S/Vincent Russoniello
                                      VINCENT RUSSONIELLO, CCR
                                      OFFICIAL U.S. COURT REPORTER
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                                                                        4

  1              M O R N I N G        S E S S I O N

  2

  3              (In open court.)

  4              THE DEPUTY CLERK:       All rise.

  5              THE COURT:     Thank you.

  6              Everyone may be seated.         I'll have the

  7   appearances of counsel who will be doing the

  8   questioning this morning.

  9              MR. MILLER:      Good morning, your Honor.

 10              I'm Duane Miller on behalf of the State of New

 11   Jersey.

 12              THE COURT:     Okay.

 13              MR. KAUFMANN:      Leonard Z. Kaufman of Cohn,

 14   Lifland, Herrmann & Knopf, Saddle Brook, New Jersey,

 15   on behalf of plaintiff.

 16              MS. FARLEY:      Gwen Farley, Deputy Attorney

 17   General, State of New Jersey.

 18              MR. WREN:     Tyler Wren, Berger Montague, on

 19   behalf of the State of New Jersey.

 20              MR. LENDER:      Good morning, your Honor.

 21              David Lender from the law firm of Weil,

 22   Gotshal & Manges for ExxonMobil.

 23              MR. BOLLAR:      Good morning, your Honor.

 24              Carlos Bollar from Archer & Greiner on behalf

 25   of ExxonMobil.
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                                                                             5

  1              MR. TULLY:     Good morning, your Honor.

  2              Mark Tully from Goodwin Procter for Cumberland

  3   Farms and Gulf Oil Limited Partnership.

  4              THE COURT:     Thank you.

  5              Everyone else who is here has signed in.               So

  6   we have documentation of your appearance here today.

  7   I only wanted the appearances of those who will

  8   actually be participating in the hearing.

  9              My understanding is that essentially the

 10   questioning is going to be done by Exxon and perhaps

 11   some by Cumberland Farms, and a number of sites are

 12   not going to be inquired about by other parties, so

 13   that the hearing is going to be truncated really from

 14   how many days we thought we would have.               Correct?

 15              MR. MILLER:      Correct.

 16              THE COURT:     Off the record.

 17              (Brief discussion off-the-record discussion.)

 18              THE COURT:     All set?

 19              MR. MILLER:      Yes, your Honor.

 20              THE COURT:     Present your witness, please.

 21              MR. MILLER:      Anthony Brown.

 22              (Continued on the next page.)

 23   ///

 24

 25
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                              Brown - Direct/Mr. Miller

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  1   ANTHONY BROWN, called as a witness on behalf of the

  2   plaintiff, having been first duly sworn, testified as

  3   follows:

  4

  5              THE COURT:     You may proceed.

  6              MR. MILLER:      Good morning, your Honor.

  7              We premarked the witness' 2013 and 2017

  8   reports as Exhibits 1 and 2 for the record for

  9   identification.

 10              THE COURT:     All right.

 11              MR. MILLER:      And then Exhibits 3, 4 and 5 are

 12   Power Points.

 13              I have a courtesy copy for the Court.

 14              THE COURT:     I'll take that.           It appears that

 15   it's generally been excerpts that have been provided

 16   in the briefing.        So do you have a full report to give

 17   me as well so I don't have to dig through various

 18   excerpts?      I was hoping you were bringing that today.

 19              MR. MILLER:      Yes, your Honor.          As you can see

 20   by the thickness of the binder, it is a full report, I

 21   believe.

 22              THE COURT:     You don't have to send it up to

 23   me.    But then I would appreciate, if you are going to

 24   be referring to a particular page, that you're either

 25   going to put it on the screen or give me that page so
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                              Brown - Direct/Mr. Miller

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  1   I don't have to hunt through which exhibit it was to

  2   find it.

  3              MR. MILLER:      Yes, your Honor.        I don't

  4   anticipate personally using the reports.               I'm marking

  5   them for the record.

  6              I assume counsel may question the witness

  7   about the reports, so I thought it would be

  8   convenient.

  9              THE COURT:     That's fine.       I'm assuming if they

 10   are going to go to a particular page as well, they

 11   will be able to put it up for me.

 12              MR. MILLER:      Yes.

 13              THE COURT:     Okay.

 14

 15   DIRECT EXAMINATION

 16   BY MR. MILLER:

 17   Q.      Good morning, Mr. Brown.

 18              What is your profession?

 19   A.      Good morning.       I am a hydrologist.

 20   Q.      Could you briefly explain what that science

 21   entails.

 22   A.      Certainly, yes.       Hydrology is the scientific

 23   study of water as it appears on the surface and below

 24   the surface of the earth.

 25   Q.      Could you briefly describe for us your
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                              Brown - Direct/Mr. Miller

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  1   educational background, particularly in that field.

  2   A.      Yes.

  3              I have an undergraduate degree from Kings

  4   College, London, United Kingdom, in geography, with

  5   primarily a focus on hydrology, geomorphology, and

  6   soil science.

  7              In addition, I have a postgraduate diploma in

  8   civil engineering from Imperial College, London, and a

  9   Masters of Science Degree in engineering hydrology

 10   from Imperial College, London.

 11   Q.      Since we're not necessarily familiar with

 12   English universities, could you give us some

 13   indication of its stature, please?

 14   A.      Certainly, yes.       Imperial would be the premier

 15   science and engineering university within the U.K..

 16   I'm sure Imperial would argue it's within the world.

 17   But I think Cal Tec and MIT are probably the other two

 18   comparable institutions within the United States.

 19   Q.      Do you actually exchange students with those

 20   universities?

 21   A.      Yes.    The majority of research collaboration of

 22   Imperial is actually with MIT.

 23   Q.      Now, in the past have you held positions with

 24   environmental engineering firms?

 25   A.      Yes.    I finished my graduate work in 1988, and
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                              Brown - Direct/Mr. Miller

                                                                         9

  1    since then I have been working as a groundwater

  2    consultant.

  3    Q.      Were you with the Worley Parsons firm?

  4    A.      Yes.   I actually started my own company in 1992

  5    which eventually became called Komex.              We sold that

  6    company to Worley Parsons, who is a very large global

  7    oil and gas consulting firm.

  8    Q.      What was your position with Worley Parsons?

  9    A.      I ran their global infrastructure and

 10    environment business sector, which is about 3,500

 11    employees worldwide.        And I also handled mergers and

 12    acquisitions and strategic developments for the

 13    Americas.

 14    Q.      Now, have you spent part of your career dealing

 15    with the subject of MTBE?

 16    A.      Yes.   I have spent a considerable amount of

 17    time, starting in the early 1990s right up to the

 18    current time, I have been working almost consistently

 19    on projects that involve MTBE contamination.

 20    Q.      Have you been consulted or provided advice to

 21    governmental agencies concerning MTBE?

 22    A.      Yes.   I have government clients, particularly

 23    various states that have filed claims related to MTBE

 24    contamination of groundwater resources, as well as

 25    county and municipal clients who, again, having to
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                               Brown - Direct/Mr. Miller

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  1    deal with MTBE contamination of water supplies.

  2               THE COURT:     Let me interrupt.

  3               Mr. Miller, all of this background, if this is

  4    going to his qualifications, there is no objection to

  5    his qualifications it's my understanding from having

  6    read the Daubert papers.

  7               MR. TULLY:     That's correct, your Honor.

  8               THE COURT:     I have all that material.          I find

  9    him qualified.       If you want to proffer the areas he is

 10    in, I know there is no objection, let's just do it,

 11    and we can go on to the substance of the testimony.

 12               MR. MILLER:     That's fine, your Honor.

 13    BY MR. MILLER:

 14    Q.      Mr. Brown, in what areas are you acting as an

 15    expert witness in this case?

 16    A.      I'm providing expert witness testimony in the

 17    areas of groundwater hydrology and groundwater

 18    restoration.

 19               MR. MILLER:     We would offer him as an expert

 20    in those fields, your Honor.

 21               THE COURT:     My understanding is that there is

 22    no objection to his qualification in those areas.                 Is

 23    that correct?

 24               MR. LENDER:     Not referring to the Daubert

 25    motions.     We didn't move on that basis.
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                              Brown - Direct/Mr. Miller

                                                                         11

  1              THE COURT:      Exactly.

  2              MR. TULLY:      Correct, your Honor.

  3              THE COURT:      All right.     He will be accepted as

  4    the expert in those areas, and we'll get to the actual

  5    opinions.

  6    BY MR. MILLER:

  7    Q.      Mr. Brown, I want to go briefly over your

  8    experience.

  9              Have you worked with oil companies dealing

 10    with contamination?

 11    A.      Yes, I have.      I have worked for a variety of oil

 12    companies during the course of my career.               I would say

 13    the majority of work was for originally Mobil Oil

 14    Corporation, now ExxonMobil.

 15    Q.      In doing that work, have you dealt with

 16    contamination from gasoline at service stations?

 17    A.      Yes, I have.      I've implemented actually

 18    investigation and remediation programs at over 100

 19    service station sites and numerous field terminals,

 20    pipeline releases and refineries.

 21    Q.      The technique or method that you used to

 22    investigate and proposed programs to clean up those

 23    sites, is that also something that you did for this

 24    case?

 25    A.      Yes.   The methodologies I would use in
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                              Brown - Direct/Mr. Miller

                                                                         12

  1    evaluating those sites would be identical to those

  2    that I used in this matter.

  3    Q.      In terms of the methodologies that we're going

  4    to discuss this morning that you employed in this

  5    case, are they generally accepted?

  6    A.      Yes.   These are the methodologies that any

  7    consultant or even any expert would use when

  8    evaluating any contaminated site including those

  9    contaminated with MTBE and other gasoline

 10    constituents.

 11    Q.      Now, if we could turn to the slides.             We're

 12    going to cover something extremely briefly.               This is a

 13    matter that relates to qualifications.              So could we go

 14    to the next slide.

 15              It mentions that you went to the White House

 16    to advise them on MTBE?         Is that correct?

 17    A.      It is, yes.      Under the Clinton administration I

 18    was invited to present at the White House.

 19    Q.      Could we have the next slide, please.

 20              We're going to be using some terms and one of

 21    them is the "vadose zone."          Can you explain what that

 22    is briefly, please?

 23    A.      Certainly, yes.       If we refer to the figure here,

 24    we can see this brown line is the ground surface, and

 25    there is a tree growing here.           And initially when one
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                              Brown - Direct/Mr. Miller

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  1    moves through the subsurface, there is an area of the

  2    subsurface where the pore spaces -- that is the voids

  3    between the soil grains or the facies in the rock are

  4    not completely saturated with water, and that's

  5    referred to as either the "unsaturated zone" or the

  6    "vadose zone".       And then eventually we move to a point

  7    where the pore spaces as can be seen here are

  8    completely saturated with water, and that's what we

  9    call the "groundwater zone" or it's referred to as an

 10    "aquifer."

 11    Q.      Is there a transition zone between the two?

 12    A.      Yes.   There is a small transition zone called

 13    the "capillary fringe," which is saturated with water

 14    but it's under negative pressure.

 15    Q.      And in terms of the terminology we're going to

 16    be using today, we're going to be focusing on both the

 17    "vadose zone" and the "saturated zone."              Is that

 18    correct?

 19    A.      To a degree, yes.       However, the majority of the

 20    discussion today I would assume would be related to

 21    the groundwater.

 22    Q.      Now, the settings in New Jersey that relate to

 23    cases that we're going to discuss this morning, what

 24    geological settings are we talking about?

 25    A.      Perhaps if we go to the next slide, this slide
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                                                                          14

  1    depicts some of the typical geologic materials we

  2    would see in the State of New Jersey.              There are

  3    basically two types of geologic materials:

  4               The first I'll refer to as "unconsolidated

  5    sediments," and these are comprised of sands, gravels

  6    silts, and clays.        So they are not cemented into any

  7    form of rock.      They are just like a loose sand you

  8    might see at the beach.         These are depicted here as

  9    these yellow areas on the slide being the sands, and

 10    in this case a till which is a glacial deposit of more

 11    finer grained material.

 12               The other type of geologic material we see

 13    here in New Jersey is competent bedrock, solid rock.

 14    Here, while some bedrock has what's referred to as

 15    primary porosity, that is some pore space, the

 16    majority of the bedrock contains water in fractures.

 17               These are cracks in the rock that are usually

 18    vertical, subvertical, or horizontal, and the water

 19    enters these fractures rather than moving through

 20    interconnected pores.         So the water is much more

 21    variable in its location within the fractured rock.

 22    Q.      And you can actually develop a well in the type

 23    of fractured rock we have here in New Jersey.                Is that

 24    correct?

 25    A.      That's correct.       There are many large municipal
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                              Brown - Direct/Mr. Miller

                                                                          15

  1    water supply wells in fact that are completed into

  2    bedrock aquifers.        Because of the interconnection of

  3    the pores in unconsolidated sediments, any well will

  4    essentially draw water from throughout the entire area

  5    of the sediments; whereas in fractured rock it will

  6    only draw water from the fractures that well connects

  7    with.

  8              So if we have a well, say, this one on the

  9    right, it only connects to one fracture.              Therefore,

 10    its yield will be quite low; whereas, the well here

 11    just to the left of it intersects many water bearing

 12    fractures.     Therefore, it will have much higher water

 13    yields when it's pumped.

 14    Q.      If we compared the two types of deposits in the

 15    subsurface, the fractured rock versus the

 16    unconsolidated materials, which of the two is more

 17    complex to understand when you are dealing with

 18    contamination?

 19    A.      Certainly the fractured rock is much more

 20    complex because one has to understand the orientation,

 21    the density of the fractures, as well as the general

 22    groundwater conditions.

 23    Q.      And does that affect your ability to predict

 24    where MTBE may be present in the subsurface, that is

 25    when it enters fractured rock environments?
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                              Brown - Direct/Mr. Miller

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  1    A.      Yes, it does.      Perhaps an example:         In my career

  2    I worked on a major gasoline spill from a pipeline;

  3    consulting work I was performing for Shell in

  4    Kankakee, Illinois, where they had a release from the

  5    pipeline.     The groundwater flow direction suggested

  6    the plume would go in one direction.               However, the

  7    fractures were oriented about 45 degrees to the

  8    groundwater flow.        Therefore, the plume had actually

  9    moved 45 degrees and contaminated wells that no one

 10    had expected would be contaminated.

 11    Q.      So understanding fracture orientation is part of

 12    the information you need to have and consider it to

 13    predict the movement of MTBE in the subsurface.                   Is

 14    that correct?

 15    A.      Where one can identify that, that is very

 16    valuable.     It's very difficult to do actually in urban

 17    areas just because any surface expression of those

 18    fractures is no longer evident.

 19    Q.      If we could turn to the next slide, please?

 20               We're not going to go through each of these

 21    bullets.     But basically you were retained in 2012 to

 22    work on this case and to evaluate each of the original

 23    19 sites.     Is that correct?

 24    A.      Yes, that is correct.

 25    Q.      Today you are prepared to discuss a subset of
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                              Brown - Direct/Mr. Miller

                                                                           17

  1    those, a total of four, but two you will be testifying

  2    on this morning.       Correct?

  3    A.      That's my understanding, yes.

  4    Q.      Could you explain what your assignment was

  5    briefly, please, in this case?

  6    A.      Yes.

  7              We would review information pertinent to the

  8    trial sites, and based upon that review of both

  9    regional and site-specific information, at certain

 10    trial sites we identified some real critical data

 11    gaps.    Therefore, we implemented field investigations.

 12    And for all of the sites where there was off-site

 13    groundwater contamination, we evaluated what would be

 14    feasible and technical technologies to restore the

 15    groundwater to a pre-discharge condition.

 16    Q.      You used the term "we."         Could you explain?

 17    A.      I apologize.      I have my own consulting firm.

 18    It's a small firm of about 12 staff.               So some of the

 19    work would be performed by staff under my direction.

 20    Q.      Okay.    In terms of your evaluation of the data,

 21    what were you trying to get, what type of information?

 22    A.      As I indicated, there would be two types of data

 23    sets: The first would be regional information that

 24    would allow us to develop essentially what we refer to

 25    as a site setting.        So regional hydrogeology, regional
Case 1:08-cv-00312-VSB-VF Document 619-6 Filed 06/04/21 Page 19 of 207
                              Brown - Direct/Mr. Miller

                                                                          18

  1    groundwater flow conditions.

  2    Q.      Is regional information useful in making

  3    predictions at a specific site?

  4    A.      Very useful, yes.

  5    Q.      Could you briefly explain it.

  6    A.      Certainly, yes.

  7              For example, groundwater, essentially, in

  8    general, moves from what are referred to as areas of

  9    recharge -- that's where there is water recharging the

 10    aquifer -- to areas of discharge, and those discharge

 11    locations are usually large water wells that are

 12    pumping or a surface water body that's being supplied

 13    with groundwater.        That relationship between areas of

 14    recharge and areas of discharge will often drive the

 15    flow from one to the other.

 16              So it's important to understand that on a

 17    regional basis.       So where are the wells that will

 18    essentially drive a lot of the groundwater flow.

 19    Q.      How does someone in your field determine the

 20    direction of groundwater flow and why is it important

 21    to do that?

 22    A.      So there are essentially two ways to evaluate

 23    groundwater flow.

 24              The first would be an inferred flow based upon

 25    that recharge/discharge relationship.              So if we know
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                              Brown - Direct/Mr. Miller

                                                                            19

  1    we have large water supply wells, it's pretty clear

  2    that the flow around those wells -- it could be many

  3    miles -- would be towards those wells.

  4              Now, we also could use actual site data where

  5    we have installed monitoring wells.                These are wells

  6    that are not wells to produce groundwater but just

  7    monitor the groundwater.          We can actually measure the

  8    water levels in those wells, and from those

  9    measurements we can determine the groundwater surface

 10    and gradient, so we know based on those measurements,

 11    just as if you were measuring the elevation on a hill,

 12    where is the down-gradient direction.

 13              So we can use both site data and inferred

 14    regional information to determine the direction of

 15    groundwater flow.

 16    Q.      So basically groundwater is flowing downhill?

 17    A.      Essentially, yes, in simple terms.              It's related

 18    to other factors, but, generally, topography is one of

 19    the key factors in evaluating groundwater flow.

 20    Q.      So if you measure the groundwater level in a

 21    well here, and it's higher than a point here, what

 22    inference do you draw based on the science that you

 23    are part of?

 24    A.      One of the key elements of hydrology is that

 25    groundwater will always move from a condition of high
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                              Brown - Direct/Mr. Miller

                                                                               20

  1    hydraulic head, high elevation, to a condition of low

  2    hydraulic head.       That's a lower elevation.          So as you

  3    say it flows downhill.

  4    Q.      You used the term "head."          What does that mean?

  5    A.      "Head" is just the reference to, in this case,

  6    evaluation within an unconfined aquifer versus

  7    elevation plus pressure within a confined aquifer.

  8    Q.      And then if we go to the other setting, which is

  9    the fractured rock, do you use the same approach to

 10    determine the direction of flow or is it more complex?

 11    A.      As I indicated earlier, it's a little more

 12    complicated because one can first measure the actual

 13    groundwater flow direction based on elevations.                   The

 14    groundwater can only flow within the fractures.                   So

 15    the fractures may have an orientation that is slightly

 16    different than the overall groundwater flow field.

 17              I'll give an example.         If you are standing at

 18    the top of the hill, and you want to drive down the

 19    hill, the most direct way is straight down the hill.

 20    However, if the road zigzags all the way down the

 21    hill, as might be a fracture network, you have to

 22    follow the road.

 23    Q.      Okay.    You mentioned that a well can draw water

 24    from several miles away.          How does that work?        Could

 25    you explain that briefly?
Case 1:08-cv-00312-VSB-VF Document 619-6 Filed 06/04/21 Page 22 of 207
                              Brown - Direct/Mr. Miller

                                                                           21

  1    A.      Certainly, yes.

  2              When a groundwater well starts to pump water,

  3    it essentially lowers the groundwater, the elevation

  4    in the vicinity of the pumping well, and it creates

  5    what's referred to as a cone of depression.               So

  6    essentially as it withdraws water from the aquifer, it

  7    creates a cone around the well.            That is the area

  8    around the well is being depleted of water because it

  9    is being pumped; and as the pumping continues, that

 10    cone gets deeper and gets very, very wide because it's

 11    drawing water from a very large area.

 12    Q.      In effect, it creates its own depression in the

 13    water surface?

 14    A.      That is correct, yes.

 15    Q.      And that depression causes the water to move

 16    toward the well?

 17    A.      That is absolutely correct, yes.

 18    Q.      Now, in this case, in addition to evaluating the

 19    setting and the sites, you were asked to evaluate

 20    feasible and practical technologies to restore the

 21    groundwater to a pre-discharge condition.               I want to

 22    start with, what is a "pre-discharge condition"?

 23    A.      A pre-discharge condition would be the state of

 24    the groundwater prior to the release of the

 25    pollutants.
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  1    Q.      So in this case we are talking about MTBE.                Is

  2    that naturally present in groundwater?

  3    A.      No, it is not.

  4    Q.      Is it primarily associated, based on your

  5    expertise and experience, with gasoline stations and

  6    similar sources of gasoline releases?

  7    A.      Yes.   MTBE was most predominantly used as an

  8    oxygenate in reformulated gasoline.

  9    Q.      What is "reformulated gasoline"?

 10    A.      Essentially, it's gasoline that had its basic

 11    formula adjusted by the addition of an oxygenate, and

 12    the most common oxygenates are either ether

 13    oxygenates, MTBE being far the most common, or

 14    alcohol-based oxygenates, most notably ethanol.

 15              Now, originally, those compounds were added to

 16    enhance the octane value of the fuel, make it burn

 17    more efficiently.        And then in response to Clean Air

 18    Act amendments, it was required to add an oxygenate to

 19    gasoline in certain areas of the country.

 20              Now, those areas coincided with most of the

 21    population and most of the refineries.              So oxygenated,

 22    reformulated gasoline in response to the Clean Air Act

 23    amendments was widely used throughout the United

 24    States.

 25    Q.      Roughly what percentage of the gasoline was MTBE
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  1    and this reformulated gasoline you described?

  2    A.      It varied depending on the grade of the

  3    gasoline, between 11 and 15 percent by volume.

  4    Q.      Was that the single largest constituent in

  5    gasoline during the period of time that MTBE was in

  6    gas?

  7    A.      Yes, by far.

  8    Q.      Are there other industries unrelated to gasoline

  9    that are known to be sources of MTBE releases?

 10    A.      The only other ones would be the chemical plants

 11    where they are actually making the MTBE.               Other than

 12    that, the uses are very, very minor.               And I never

 13    identified a contamination source other than a

 14    gasoline release when it comes to MTBE contamination

 15    of groundwater.

 16    Q.      Okay.    Now, did you come up with and evaluate

 17    the feasibility of technologies to restore groundwater

 18    for this case?

 19    A.      Yes, I did.

 20    Q.      Did you do it for the two sites we are going to

 21    discuss this morning?

 22    A.      Yes.    We prepared actually an initial

 23    feasibility evaluation that addressed all of the

 24    sites, and evaluated eight different technologies that

 25    could be used to restore the groundwater.               And then we
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  1    considered that on a site-specific basis, so for each

  2    of the sites based on the conditions at that site,

  3    which would be the most appropriate technology to use

  4    to restore the groundwater to a pre-discharge

  5    condition at that particular site.

  6    Q.      Did you consider whether those technologies were

  7    practical?

  8    A.      Yes.    Essentially, the guidelines for doing a

  9    feasibility analysis, evaluate the feasibility based

 10    on three criteria: effectiveness, implementability,

 11    and cost.      Essentially, effectiveness and

 12    implementability together determine whether the

 13    technology is practical.

 14    Q.      We're going to go into that more specifically in

 15    a minute.      If we can go to the next slide, please.

 16              This describes briefly your overall approach

 17    in doing the work in this case and other matters.                 Is

 18    that correct?

 19    A.      Correct, yes.      It describes essentially the fact

 20    that the methodology that I used in this particular

 21    matter is identical to the methodologies that I have

 22    used in many other projects.           In fact, just about

 23    every contaminant project that I work on, I use the

 24    same procedures.

 25    Q.      Is that true for when you were working on
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  1    gasoline station sites for the oil industry, that you

  2    used the same procedures?

  3    A.      Yes, it would be the identical procedures.

  4    Q.      And the experts for the defendants that prepared

  5    reports in this case, you reviewed them?

  6    A.      I did, yes.

  7    Q.      Did they use the same procedures that you did?

  8    A.      Yes.   Essentially, these are the procedures that

  9    are used by all consultants when evaluating a

 10    contaminated site.

 11    Q.      Do you currently have clients in the oil

 12    industry?

 13    A.      Yes, I do.

 14    Q.       And when you are evaluating conditions to

 15    consider a remediation restoration, here you've got

 16    sites that you evaluated.          Approximately how many have

 17    you done this type of analysis for?

 18    A.      So I have actually used the methodology as part

 19    of the implementation of the actual investigation and

 20    remediation programs at over 150 contaminated sites,

 21    of which about 100 would be gasoline release sites,

 22    and the others would be other types of contaminants.

 23              I've also used the methodologies to evaluate

 24    conditions at over 500 contaminated sites, of which

 25    300 or more would be gasoline release sites.                This
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  1    would be where I was working for a party that was not

  2    the responsible party for contamination but had been

  3    impacted by the contamination.           For example, a state

  4    agency, a county government, or a municipal

  5    government.

  6    Q.      Okay.    Let's go to the next slide, please.

  7              Further discussion of the overall approach

  8    that you took in this case.

  9              Did the experts for the defense arrive at the

 10    same conclusions you did if they used the same

 11    methodology?

 12    A.      In some cases, some of the conclusions are

 13    similar if not identical.          I would say many of the

 14    cases they used the same methodology but they reached

 15    a different conclusion based upon their analysis.

 16    Q.      Now, in terms of implementing an investigation,

 17    did you do some investigative work in this case?

 18    A.      Yes.    We did two types of investigative work.

 19    The first would be the review and analysis of existing

 20    information.      The second would be actual field

 21    investigations where we went to a site and drilled

 22    monitoring wells and collected samples in some other

 23    way.

 24    Q.      Did you believe before you rendered your expert

 25    reports in 2013 and 2017 that you had the information
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  1    you needed to form your opinions?

  2    A.      Yes, I did.

  3    Q.      Now, let's go to the methodology itself.

  4              The first item you list out of four is

  5    understanding the site setting and identifying

  6    receptors or potential receptors.            In this context,

  7    what is a "receptor"?

  8    A.      So a receptor in this context could be one of

  9    three things.

 10              The first could be the groundwater itself, and

 11    that it has been impacted by the pollution, so it is a

 12    receptor.

 13              The second might be a water supply well, which

 14    could be a domestic well for a single residence or a

 15    large municipal well that is either impacted or

 16    threatened by that contamination.

 17              The third would be perhaps a surface water

 18    body, such as a stream or a lake or a wetland where

 19    groundwater recharges that surface water body, and

 20    there is a risk that the contamination could move with

 21    the groundwater and contaminate that surface water

 22    body.

 23    Q.      The next step in the process is to evaluate

 24    contaminants of concern.          In this case, there are two

 25    contaminants of concern.          Is that correct?
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  1    A.      There are two particular contaminants we are

  2    concerned about.       The first we mentioned is MTBE,

  3    methyl tertiary butyl ether, and the second is

  4    tertiary butyl alcohol, or TBA.

  5    Q.      Is TBA also an oxygenate for gasoline?

  6    A.      It had been used either directly as an

  7    oxygenate, but it is also present as essentially an

  8    impurity within MTBE, and it also is a degradation

  9    product of MTBE.

 10    Q.      Is that also a chemical that the government has

 11    some concern about and regulates it just as it does

 12    MTBE?

 13    A.      That is correct.

 14    Q.      Now, did you consider the applicable regulations

 15    in New Jersey that applied to those two chemicals in

 16    evaluating evidence in this case?

 17    A.      I did, yes.

 18    Q.      Why would it be important to understand the

 19    level the government is concerned about on a

 20    regulatory basis in doing your work?

 21    A.      There are two considerations.

 22              The first is the government essentially

 23    establishes risk-based levels; that is, some

 24    concentration that they believe there is an acceptable

 25    risk for consuming or being exposed to that particular
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  1    chemical below a certain concentration, and that is

  2    referred to on the national level as a maximum

  3    contaminant level or an MCL.

  4    Q.       Do MCLs apply, for example, to public drinking

  5    water?

  6    A.       That is correct.      So for a public drink water

  7    supply, a purveyor of that drinking water must comply

  8    with the standards that are imposed either by the

  9    federal or state government; and usually most water

 10    utilities, if they reach 50 percent of that standard

 11    have to implement some kind of mitigation, either

 12    treatment or take the well offline, or some other

 13    process to ensure they don't deliver that water in

 14    those concentrations to their customers.

 15               Now, if I could go back to the first question.

 16    I had not quite finished.

 17    Q.       Sorry.   Go ahead.

 18    A.       So the MCLs are a risk-base standard

 19    essentially.      That is, they understand that exposure

 20    even below the MCL poses some risk, but they believe

 21    it to be an acceptable risk.

 22               The other standard is the point at which there

 23    is no perceived public health risk, and that's

 24    referred to at the federal level as a maximum

 25    contaminant level goal, or an MCLG.
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  1              Now, in addition to those levels, many states

  2    have what they refer to as a "nondegradation

  3    standard," or, in the case of New Jersey, a

  4    "pre-discharge standard."          That is, essentially, the

  5    State does not allow degradation of one of the State's

  6    resources to any degree.          Therefore, restoration is

  7    the cleanup of a particular resource, in this case,

  8    groundwater, to a pre-discharge condition.

  9    Q.      And for a chemical like MTBE or TBA, is it your

 10    understanding then in New Jersey, that level is

 11    basically the level at which you can detect it in a

 12    chemical laboratory?

 13    A.      Yes.   So by clear inference, the level should be

 14    zero because it's not a naturally occurring compound,

 15    but one is limited by the detection limit that a

 16    laboratory has.       How low can it detect the compound?

 17    And that's called the "practical quantitation limit"

 18    or PQL.

 19    Q.      When you prepared your reports in this case, you

 20    proposed programs in some sites where the groundwater

 21    would be cleaned up.        Correct?

 22    A.      Correct, yes.

 23    Q.      And in setting a cleanup program or planning it,

 24    is it important to understand what the goal is in

 25    terms of the concentration, what it should be?
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  1    A.      It's very important.        That's essentially your

  2    target, your end point.

  3    Q.      And in this case, when we talk about remediation

  4    versus restoration, what are we talking about?

  5    A.      Essentially, remediation is the cleanup of a

  6    resource, in this case, groundwater to those

  7    risk-based standards.         Whereas, restoration is the

  8    cleanup to the pre-discharge condition.

  9    Q.      You indicate in your third step that you

 10    followed in your methodology is to prepare a detailed

 11    summary of site-specific information, and you list

 12    four items that are part of that.            Correct?

 13    A.      Yes.   These are four of the typical elements

 14    that we implement as part of our review of

 15    site-specific information.

 16    Q.      Obviously, one of the things you want to do is

 17    understand the contamination that is present at a

 18    site, you list that, and then you talk about

 19    contaminant, fate, and transport.            Are those technical

 20    terms in your field?

 21    A.      Yes.   As you mentioned, the first step is just

 22    based upon the existing data.           Where is the

 23    contamination?       What is the magnitude?         What are the

 24    concentrations?       Where was it potentially released

 25    from?
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  1              The second element, the bullet there, is:

  2    Where might it go?

  3              So what is the fate and transport?             Because of

  4    MTBE's particular properties, it essentially goes

  5    where the groundwater goes.

  6    Q.      We'll cover that in a minute.

  7              You also indicate another thing you do is

  8    identify deficiencies in existing work and data gaps.

  9    Why is that important?

 10    A.      Well, one needs to identify particular data gaps

 11    that might limit your ability to complete the

 12    evaluation.      Those would be critical data gaps.               And

 13    at some of the sites we did identify those and

 14    actually implemented field programs.

 15              In others there would be data gaps that would

 16    not limit your ability to reach opinions and develop

 17    restoration programs, but still need to be completed

 18    at some point in the future or addressed.

 19    Q.      And as part of your work, did you also consider

 20    and in some cases recommend additional investigation?

 21    A.      Yes.   In some cases we actually implemented

 22    investigation.       But in all of the remaining sites, we

 23    did actually recommend future additional investigation

 24    does need to be performed.

 25    Q.      Did you have as one of your resources of
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  1    information reports from consultants retained by oil

  2    companies who had a release site and had done their

  3    own investigation?

  4    A.      Yes.     I would say that was the majority of

  5    information reviewed as part of our site-specific

  6    analysis.

  7    Q.      Apart from that, what other types of information

  8    would you get that would help you review and summarize

  9    site-specific information?

 10    A.      There may be in fact some records of actual

 11    release events at a station.           There may be records of

 12    underground storage tank removal programs or gasoline

 13    piping replacement programs at each station.                These

 14    may not be contained within the consultant reports but

 15    they would be available for a particular site.

 16    Q.      Did you attempt to get all of that type of

 17    information to the extent it was available?

 18    A.      We did, yes.

 19    Q.      Let's turn to Step 1.         This is the regional

 20    information.

 21              Is this basically a listing of the types of

 22    information that you use and consider in understanding

 23    the regional setting?

 24    A.      It is.     This is some of the typical information

 25    that one tries to identify and review.              As we
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  1    mentioned, just the location and topography, the

  2    geologic and groundwater conditions, the surface water

  3    hydrology conditions; are there streams nearby that

  4    could be receptors, for example?            Are there water

  5    supply wells, information on receptors, such as

  6    domestic and municipal supply wells?               What's the local

  7    land use?      So, for example, are there residences that

  8    sit on top of the contaminant plume that might be

  9    exposed to vapors coming from that plume?

 10              Basically, that forms essentially an

 11    understanding of the region for the setting for a

 12    particular site.

 13    Q.      Let's go to the next slide.

 14              Are there properties of MTBE that are

 15    important to understand in making predictions about

 16    how it will behave in the environment?

 17    A.      Yes.    Gasoline containing MTBE or the MTBE

 18    within that gasoline has certain chemical properties

 19    that make it behave quite differently than gasoline

 20    that doesn't contain an oxygenate when it comes to a

 21    release into the environment and its impact to

 22    groundwater.

 23    Q.      So one of the things that can happen when a

 24    chemical is released is it can dissolve into

 25    groundwater.      Correct?
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  1    A.      Yes.    Often you hear the old adage, oil and

  2    water don't mix.       Unfortunately, they do.          Some of the

  3    constituents within oil that dissolve into the water

  4    and particular MTBE is highly soluble in water.                   So

  5    you can have a transfer of the MTBE from the gasoline

  6    that was released into the groundwater, so it

  7    dissolves into that water.

  8    Q.      Is MTBE so soluble that you can literally find

  9    it present in levels as high as millions of parts per

 10    billion?

 11    A.      Yes, that is absolutely true.

 12    Q.      Did that actually occur at some of the sites

 13    that we are talking about?

 14    A.      It does.     Some of the sites we had

 15    concentrations in the millions of parts per billion in

 16    groundwater.

 17    Q.      Now, one of the things that can happen with a

 18    chemical when it enters the soil is that it can stick

 19    to the soil.       Correct?

 20    A.      Yes.    Particularly, there are certain gasoline

 21    constituents that are essential bound to the soil

 22    particles.      They absorb onto the organic carbon within

 23    the soil.      So therefore their movement is retarded by

 24    that absorption.

 25    Q.      In other words, they don't move very far?
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  1    A.      Correct.     Particularly longer chain hydrocarbons

  2    -- I should point out, gasoline contains numerous

  3    constituents.

  4    Q.      More than?

  5    A.      On the order of 100, say, depending on the

  6    gasoline.     But the majority of them are either long

  7    chain hydrocarbons or branched chain hydrocarbons.

  8              MR. MILLER:      I don't want to do a deep drive

  9    into chemistry today, your Honor.            I'm going to avoid

 10    that.

 11    A.      (Continuing.)      Crude oil contains hundreds of

 12    compounds.     In each they vary in the number of carbon

 13    atoms in each compound, the number of hydrogen atoms,

 14    and how those atoms are structured.                Hydrocarbons that

 15    have a large number of carbons, they absorb very

 16    readily to the soil material.           So, therefore, they

 17    don't move very far at all.

 18    Q.      How does MTBE compare to those?

 19    A.      Well, compared to those, first, it's highly

 20    soluble, as we discussed, and, secondarily, it hardly

 21    absorbs to the soil particles at all.                So,

 22    essentially, it moves through the subsurface with the

 23    groundwater and it's unretarded.            That is, its

 24    movement is not restricted by natural processes as

 25    much as the gas of the gasoline constituents.
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  1    Q.      Does it almost move at the same speed as the

  2    groundwater itself?

  3    A.      Pretty much, yes.

  4    Q.      Another characteristic that you list is that it

  5    doesn't volatilize from the groundwater.              Why is that

  6    important?

  7    A.      So once a compound is dissolved into the

  8    groundwater, there is still the potential the compound

  9    could volatilize from the water.            That's controlled by

 10    a chemical term called "the Henry's constant."                And

 11    MTBE, once it's in the groundwater does not want to

 12    partition; that is, it doesn't want to volatilize from

 13    the groundwater.       Whereas other constituents will

 14    partition from groundwater into the overlying vapor.

 15    Particularly, a concern here would be, say,

 16    chlorinated solvents, like dry cleaning solvents.

 17    Q.      Is MTBE persistent when it's dissolved into the

 18    groundwater?

 19    A.      Yes.   Once it is in groundwater, its

 20    biodegradation rate; that is, how quickly it would be

 21    broken down by natural microbes.            It's much lower than

 22    many of the other gasoline constituents.

 23              One of the things that became apparent in the

 24    early-to-mid 1990s is that one of the other

 25    constituents of concern in gasoline is benzene, but it
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  1    was realized in studies in the early 1990s.               Benzene

  2    actually biodegrades reasonably well.              Therefore,

  3    there aren't many very large plumes of benzene.

  4    Whereas, because of its lack of biodegradation and its

  5    other properties, there is a much larger number of

  6    significant MTBE plumes from gasoline releases.

  7    Q.      Given the characteristics that we've discussed

  8    about MTBE, what does that tell us about how it will

  9    behave in the subsurface?

 10    A.      So as we discussed, the MTBE will dissolve into

 11    the groundwater.       It will move with that groundwater

 12    pretty much at the rate of groundwater movement.                  It

 13    will be very poorly retarded, if at all.              It will

 14    persist for a long time because its biodegradation

 15    rate is low.

 16              So because of that generally MTBE plumes, when

 17    one compares it to other gasoline constituents, will

 18    be longer and larger, migrate much further and deeper,

 19    because as it moves away, it moves down also and

 20    persists longer.

 21    Q.      When we talk about persistence and persisting

 22    longer, could you give us some scale that we're

 23    talking about?       Are we talking about years, decades,

 24    what?

 25    A.      Well, depending upon site-specific conditions,
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  1    it's at least decades.         In some cases, it may run to

  2    more than a century.

  3    Q.      Let's turn to the next slide, please.

  4              In setting your targets to be achieved, did

  5    you consider the groundwater quality standards that

  6    apply here in New Jersey?

  7    A.      Yes, I did.

  8    Q.      And could you explain what they are for MTBE and

  9    TBA, please.

 10    A.      As I mentioned earlier, there are essentially

 11    two types of standard.         The first is the standard that

 12    applies to restoration, and that is the pre-discharge

 13    condition.     That is, MTBE should not be there at all,

 14    but when limited by how low the labs can detect the

 15    compound, and that is what we referred to earlier as

 16    the PQL, the practical quantitation limit.               So for

 17    MTBE and TBA, it's 1 part per billion for MTBE, and

 18    2 parts per billion for TBA.

 19    Q.      And in developing a remediation program, is that

 20    your target, the PQL?

 21    A.      That is correct, yes.

 22    Q.      And then in terms of the drinking water standard

 23    here in New Jersey.

 24    A.      So the other standard we discussed was at a

 25    federal level, we have what are called MCLs.
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  1              Now, in New Jersey we also have standards that

  2    they refer to as "groundwater quality standards."

  3    Those are 70 parts per billion for MTBE, and 100 parts

  4    per billion for TBA.

  5    Q.      Now, in doing a typical gasoline cleanup, where

  6    the responsible party is trying to clean up for the

  7    site, which of those two goals are typically used?

  8    A.      So for a remediation program that's being

  9    implemented by the responsible party, they are usually

 10    targeting the groundwater quality standards, that is,

 11    the higher concentrations.

 12    Q.      70 for MTBE?

 13    A.      That is correct.

 14    Q.      And in this case did you take a look at getting

 15    the contamination down to restoration levels?

 16    A.      Yes.   My goal was to evaluate technologies or a

 17    combination of technologies that would eventually

 18    restore the groundwater to that pre-discharge

 19    condition, that is a target of the PQL.

 20    Q.      Let's turn to the third step.              This is basically

 21    a list of the types of information that you gathered.

 22    Is that correct?

 23    A.      It's actually, one could describe it as, a

 24    series of substeps.        So when one is evaluating the

 25    site-specific data, these are the steps one goes
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  1    through in completing that evaluation.

  2    Q.      So your attempt is to gather all of the

  3    appropriate site-specific documents.               Is that correct?

  4    A.      Yes.   That's the first step is pulling together

  5    the pertinent documents and data.

  6    Q.      Why is the site history and site investigation

  7    and remediation history also important for you?

  8    A.      It's important to know what is being done at the

  9    site both in terms of its general operational history

 10    where that information is available, as well as the

 11    history of investigation and remediation programs that

 12    may have been implemented at that site.

 13               So we see from the first investigation after

 14    the current time, what has the responsible party been

 15    doing at the particular site.

 16    Q.      I'm going to move on to the next one without

 17    going through each of those items in detail.

 18               I think, in general, at least, they have been

 19    conceptually discussed.

 20               The next is a site conceptual model.             Is that

 21    a tool that is used in your field, and why and how is

 22    it used?

 23    A.      Yes.   This is a term that's used within the

 24    consulting industry when evaluating groundwater

 25    contaminant conditions.         It essentially tries to
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  1    create a picture of the current conditions with

  2    respect to contamination and the projected conditions

  3    based upon the fate and transport of the

  4    contamination.

  5               THE COURT:     I don't have page 14 in my

  6    handout.       I go from 13 to 15.       Do you want to hand me

  7    up a 14.

  8               (Pause.)

  9    Q.      You have some terms there that are not

 10    self-evident to me at least.

 11               What is LNAPL listed as one of the sources

 12    that you evaluate?

 13    A.      "LNAPL" is an acronym that stands for "Light

 14    Non-Aqueous Phase Liquid."

 15    Q.      And as applied to gasoline, what does that mean?

 16    A.      That is essentially pure gasoline as it's

 17    present in the subsurface.

 18    Q.      Can you actually have a situation where you can

 19    measure gasoline in a monitoring well, gasoline

 20    itself?

 21    A.      Yes.     In fact, at some of the sites that are the

 22    subject of this matter, there are actually monitoring

 23    wells that have been installed where the pure gasoline

 24    in the subsurface could be measured in the wells.

 25    There was so much gasoline it was accumulating in the
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  1    wells.

  2    Q.       Why would that happen?

  3    A.       Essentially, the release had been large enough

  4    that not all of the constituents could either absorb

  5    to the soil particles or dissolve into groundwater.

  6    So, therefore, there was still pure gasoline present

  7    in the subsurface.

  8    Q.       I take it, that's an indication of a larger

  9    release?

 10    A.       Yes.   That would be an indication of a very

 11    significant release.

 12    Q.       Could you actually measure LNAPL or this pure

 13    gasoline in feet in a monitoring well at some of the

 14    sites?

 15    A.       Yes.   At some of the sites it's accumulated in

 16    multiples of feet, and I've worked on sites where

 17    there have been over 10 feet of gasoline accumulated

 18    in wells.

 19               THE COURT:     Are you speaking generally or

 20    particularly as to any of the sites here?

 21               THE WITNESS:      In certain sites there was

 22    gasoline observed in wells, and it was measured in

 23    feet.     But I was saying a site that I have worked on,

 24    not in this matter, I've actually seen gasoline of

 25    over 10 feet in a well.
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  1    BY MR. MILLER:

  2    Q.      What happens to that gasoline over time that's

  3    floating on top of the groundwater?

  4    A.      Essentially, two things happen.

  5              First, obviously, the gasoline is spreading

  6    out on top of the groundwater surface.               So it's often

  7    depicted as sort of a pancake, or the syrup on top of

  8    a pancake might be a better analogy.               It's a little

  9    more complicated than that because it's mixing in a

 10    multiphase environment.         So it's part gasoline and

 11    part water.

 12              The second thing is the gasoline, as it's in

 13    contact with the water, the constituents in the

 14    gasoline are dissolving into the water.

 15    Q.      So, eventually, would the LNAPL be expected to

 16    disappear if you cut off the continuous release of

 17    gasoline at a site?

 18    A.      Yes.   If, say, for example, it had come from a

 19    leaking tank, if the leak had been stopped and the

 20    tank replaced, now we have a finite volume of gasoline

 21    within the subsurface, and eventually that gasoline or

 22    the MTBE in that gasoline all of it would eventually

 23    dissolve into groundwater.

 24              Now, that may take many, many, many years if

 25    not decades.      Therefore, many of the sites, including
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  1    some of those that are the subject of this litigation,

  2    the responsible party implements programs to try and

  3    recover that LNAPL, that pure gasoline.

  4               MR. MILLER:     Your Honor, I don't mind being

  5    interrupted with questions at all if you have any.

  6               THE COURT:     Even if you did, I would.           Take

  7    that as it is.

  8               MR. MILLER:     Those guys over there sometimes

  9    interrupt me, too.

 10    Q.       So if we have gasoline released from an

 11    underground storage tank, how deep in the subsurface

 12    is the tank?

 13    A.       Generally, the bottom of the tank at most of the

 14    gasoline sites, underground storage tanks, gas

 15    stations, I would say vary from about 12 to 15 feet

 16    below ground surface.

 17    Q.       In some of the settings here in New Jersey

 18    you've investigated and will testify about this

 19    morning, how deep is the groundwater?

 20    A.       In some cases the groundwater is at a similar

 21    depth.     So the tank is often literally sitting in

 22    groundwater.      So when a release occurs, it goes

 23    straight into the groundwater.

 24    Q.       Now, in the conceptual model, the next factor

 25    that you evaluate is the "pathway."                 What do you mean
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  1    by that?

  2    A.      Essentially, we're evaluating where the

  3    contamination will move.          So in this case we are

  4    looking at particularly groundwater transport.                So we

  5    know where it's being released.            We have an

  6    understanding where it's present.            Where will it move

  7    to?   What is the pathway it uses to migrate.

  8    Q.      And the receptors you've discussed earlier, that

  9    would include wells, bodies of water, et cetera.

 10    Correct?

 11    A.      That's correct.       So we want to know where they

 12    are, what are they used for, how might they be

 13    exposed, and what treatment might be required if they

 14    are exposed.

 15    Q.      Can a person in your field predict where the

 16    gasoline is flowing away from the site, if it's

 17    reached the subsurface?

 18    A.      Yes.   That's one of the things we try to do as

 19    part of that site conception model in evaluating the

 20    fate and transport of the contaminant.              So we look at

 21    the contaminant's properties and in this case the

 22    hydrogeologic conditions, and the groundwater flow,

 23    and, say, based on that, where would we anticipate the

 24    contamination would move to?

 25    Q.      In this case, did you literally evaluate a site,
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  1    predict where the gasoline was going, and install a

  2    monitoring well to determine if it had reached a

  3    location away from the station it was in the direction

  4    you predicted the MTBE would move?

  5    A.      Actually, yes.       As part of this matter, we did

  6    that at several sites.         But more recently we did it at

  7    one particular site where I had evaluated where I

  8    believe the contamination had migrated to, and we

  9    installed monitoring wells in that location and

 10    identified very high concentrations of MTBE.

 11    Q.      Was that the first time anyone had identified

 12    contamination in the area you just described?

 13    A.      It is, yes.      The responsible party had not

 14    conducted an investigation in that area.

 15    Q.      So you were able to accurately predict where it

 16    was going.     Is that correct?

 17    A.      Correct.

 18               MR. LENDER:     Your Honor, it would be helpful

 19    to know which site we are talking about.

 20               THE COURT:     I was going to ask that myself.

 21    Q.      Mr. Brown, you have a question.             It didn't come

 22    from me.

 23    A.      The sites we're discussing today or the subject

 24    of today's hearing, that site would be the Getty West

 25    Windsor site.
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  1               THE COURT:     Which actually is not being

  2    discussed today.

  3               MR. MILLER:     Correct.

  4               THE COURT:     We understand the work that you

  5    did.    So your responses should be limited to the sites

  6    that are the subject of the inquiry today, the

  7    Livingston site, and the other site, the Cumberland

  8    Farms is involved in, Bakers Waldwick.

  9               So the question you just answered with regard

 10    to installing with monitoring wells and determining

 11    MTBE had flowed there, and it was not been discovered

 12    by the responsible party, the site you identified is

 13    not the Livingston or the Bakers Waldwick site.

 14    Correct?

 15               THE WITNESS:      That is correct.       The site we

 16    were just discussing was the Getty West Windsor site.

 17               THE COURT:     So we'll put that aside.

 18               MR. MILLER:     Yes, your Honor.

 19    BY MR. MILLER:

 20    Q.      Could we go to the next slide, please.

 21               We talked a lot about contamination in

 22    groundwater.      The technical term is "plume."            Most

 23    people are familiar with it.           Could you use this

 24    illustration to explain how groundwater plumes move

 25    and how you can predict their movement?
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  1    A.      Certainly, yes.

  2              Here we have a depiction from the published

  3    literature that shows a typical MTBE plume, and MTBE

  4    in the words of Monty Python would that beautiful

  5    plumage, and the plume essentially would migrate from

  6    the gasoline release area at the service station in

  7    the groundwater in the direction of groundwater flow

  8    and would eventually in this case reach a surface

  9    water body which is a stream.

 10              They have also depicted some wells, but these

 11    are actually remediation wells.            One could also

 12    imagine if there was a drinking water well in a

 13    similar location, that well would also be impacted.

 14    Q.      You can also use wells to intercept and remove

 15    contamination from the subsurface.             Correct?

 16    A.      That's correct.       In this case, the depiction

 17    shows what they are referring to as oxygen injection

 18    wells where they are injecting oxygen to promote the

 19    degradation and oxidation of the plume.              This could

 20    also be a capture well where one was pumping the water

 21    to capture the MTBE plume.          That's done in the process

 22    called pump and treat.

 23    Q.      In this case, you show that the water table has

 24    a slope that's toward the stream.            Correct?

 25    A.      That's correct.       You may recall I mentioned
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  1    earlier in the course of this testimony how, in

  2    general, groundwater moves towards points of

  3    discharge.     In this case, the point of discharge is a

  4    stream.     Now, the point of discharge could also be a

  5    water supply well that had that cone or depression we

  6    talked about.      So the water moves from the release

  7    towards the point of discharge.

  8    Q.      What does the term "water table" refer to?                I

  9    don't think we've used that before.

 10    A.      You may recall, we talked about measuring the

 11    head, the evaluation of the groundwater in monitoring

 12    wells, and then we contour that surface just as if we

 13    were contouring a hill, and essentially that surface

 14    is referred to as a water table.            So below the water

 15    table, in this case, the sediments are saturated

 16    completely with water.         That's the groundwater zone.

 17    Above that is the vadose zone.

 18    Q.      If the slope is steeper, how does that affect

 19    the groundwater flow or movement?

 20    A.      So if the slope of the water table of the

 21    general groundwater surface is steeper than the

 22    velocity of the groundwater, movement is increased.

 23    Q.      Are there actually mathematical formulas used in

 24    your field, taking advantage of the information about

 25    the slope of the groundwater, that enables you to
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  1    predict the speed of groundwater throw?

  2    A.      Yes.     One can use an equation that was developed

  3    by a gentleman called Darcy.           Henri Darcy, he was a

  4    French engineer.       He was the city engineer for the

  5    city of Dijon in the 19th Century, and he developed a

  6    mathematical formula to calculate the flow of

  7    groundwater, and from that formula you can calculate

  8    the velocity of the groundwater.

  9    Q.      That formula has been used for more than

 10    100 years by people in your field?

 11    A.      It is.     It's probably the most widely used

 12    formula in the groundwater profession.

 13    Q.      Let's go to the next slide.

 14              This is a more complicated setting.              Correct?

 15    A.      Yes.     The previous slide showed a gasoline

 16    release and an MTBE plume within unconsolidated

 17    sediments, so in this case a sand aquifer.                This slide

 18    shows a gasoline release into fractured bedrock.

 19    Q.      There are various red lines shown.              Is that

 20    intended to represent -- if you look at the top there

 21    is an underground storage tank abbreviated UST, and

 22    there appears to be a fluid or something in red piling

 23    up.   What are we talking about there?

 24    A.      This is the underground tank.              The gas station

 25    had a leak.       The gasoline is leaking from the
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  1    underground storage tank.          It's collecting in the

  2    bottom of the tank pit, and it' entering a fracture

  3    intercepted by the tank pit, and the gasoline is

  4    penetrating into that fracture and then moving into

  5    interconnected fractures.

  6              We can see in this case, rather than really a

  7    broad pancake or syrup of MTBE on top of a pancake in

  8    an unconsolidated sediment, here we have linear

  9    features of gasoline within the fracture network.

 10    Q.      If we look at the left portion of the diagram,

 11    there is something that appears to be similar to a

 12    well that has red in it.          Could you explain, please.

 13    A.      Certainly, yes.       So this picture is showing

 14    three wells completed in close proximity.               One of the

 15    wells has red in it, which is an accumulation of

 16    gasoline.     This well has gasoline because it

 17    intercepts a fracture that contains gasoline, whereas

 18    the other well right next to it completed at a very

 19    similar depth does not intercept the gasoline

 20    containing fracture; therefore, it only contains

 21    groundwater and no gasoline.           So we can see it's a

 22    very complex distribution of the gasoline within the

 23    fractures as compared to the distribution in

 24    unconsolidated sediments.

 25    Q.      Apart from the graphic, in the real world could
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  1    you literally have wells close together in a fractured

  2    rock environment where one is contaminated and the

  3    other one appears to be clean?

  4    A.      Yes.    I actually have worked on projects where

  5    wells within a few feet, in fact, had one well with an

  6    accumulation of multiple feet of gasoline and the well

  7    right next to it has no gasoline whatsoever.

  8    Q.      Can that same complexity make it more difficult

  9    to clean up MTBE that has entered into a fractured

 10    rock environment, when compared to the other

 11    environment we were discussing, which is the

 12    unconsolidated materials laid down over time by

 13    streams and rivers and that kind of thing?

 14    A.      Yes.    Clearly, because of its distribution and

 15    where it is located, it is much more difficult to

 16    remediate and restore this aquifer zone.

 17              Say, for example, in unconsolidated aquifers,

 18    one might evaluate the use of an in-situ technology.

 19    That is a technology that cleans up the contamination

 20    in place.      We had on that previous slide an in-situ

 21    approach using oxygen, somehow introducing oxygen to

 22    the subsurface.       The issue with in-situ technologies

 23    is, how do you get the oxygen to the contamination?

 24              In an unconsolidated aquifer that is still

 25    quite complicated, but in a fractured rock aquifer
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  1    that is extremely difficult to do.

  2    Q.      In other words, you can drill two wells that are

  3    designed to intercept and clean up MTBE next to each

  4    other and only one of them might turn out to be able

  5    to be used for that purpose because only one of them

  6    might intercept the MTBE?

  7    A.      That is correct.       Even in unconsolidated

  8    settlements that can actually occur.               I had worked on

  9    a project with Mobil where we had two wells within ten

 10    feet.    One had tens of thousands of parts per billion,

 11    and the other had just a few hundred.               So even in

 12    unconsolidated settlements, the distribution of the

 13    contamination is completion, but in fractured rock

 14    settings it's extremely complex.

 15    Q.      Can you have a situation where the well is

 16    contaminated today in fractured rock, and you come

 17    back two years later and it's not present, and you

 18    come back later than that and it is?

 19    A.      That can occur.       That's not as common because

 20    those fractures are interconnected.

 21              Let's say you implemented a product recovery

 22    program at that well, you actually somehow went in and

 23    sucked the pure gasoline out, and after a period of

 24    time you realize, Oh, we cleaned up that gasoline, the

 25    well doesn't contain gasoline now, you might come back
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  1    a few months later and the gasoline has reaccumulated.

  2    It's just taking time to move through the fractures

  3    and reaccumulate in the well.

  4    Q.      Does that have implications about your

  5    recommendations at MTBE sites in this case?

  6    A.      That's one of the key factors we would consider

  7    in determining what would be an appropriate

  8    site-specific restoration program.

  9    Q.      Let's go to the next slide, please.

 10              These are steps to achieve a restoration

 11    program, which you explained earlier, is getting down

 12    to 1 part per billion for MTBE or below so that it can

 13    no longer be detected.         Correct?

 14    A.      That is correct.       That is the first subset

 15    within the restoration.         What is your goal?

 16    Q.      In this case, how does that apply?

 17    A.      So with respect to the stations that are the

 18    subject of this matter, one would evaluate

 19    technologies that would allow you to restore the

 20    aquifer to that standard or a combination of

 21    technologies.

 22    Q.      In evaluating the feasibility of restoration

 23    approaches, does the setting matter?

 24    A.      It does, yes.      So one has to consider

 25    site-specific conditions because one technology may
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  1    work at one site but not at another.               In some cases,

  2    we have technologies that are more widely applicable

  3    such as pump and treat, which could be applied to many

  4    if not all of the sites.

  5    Q.      So basically it's not a one size fits all

  6    approach.     Is that correct?

  7    A.      That's correct.       And even if the technology is

  8    applicable to multiple sites, how it's supplied is

  9    different and specific for each site.               So the number

 10    of recovery wells, the pumping rate, how it will be

 11    treated, those are all site-specific conditions even

 12    if the same technology is applied.

 13    Q.      And you used that site-specific analysis in your

 14    recommendations in this case for restoration?

 15    A.      Yes, we did.

 16    Q.      Now, you indicate that in selecting the

 17    technology at an individual site, it matters whether

 18    or not the contamination in point number 4 is in the

 19    vadose zone or soil versus the groundwater on an

 20    off-site and drinking water.           Why is that?

 21    A.      When one is considering where the contamination

 22    is, the technology or the approach one takes to

 23    remediation or restoration will vary.               Therefore,

 24    cleaning up the vadose zone -- that is the area above

 25    groundwater, it would be a different technology than
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  1    if we were cleaning up groundwater.

  2               Now, if we're cleaning up on-site groundwater

  3    as compared to off-site groundwater, again, it might

  4    be a different technology.          If we were cleaning up an

  5    impacted drinking water well, the technology might be

  6    somewhat similar, but now we're dealing with a

  7    different type of groundwater condition where we might

  8    have a well with very high flow conditions.

  9    Q.      The last step is estimating the cost.             We are

 10    not going to be spending any time on that today, I

 11    believe.     I don't think that's really the focus of the

 12    motion.      So let's go to the next slide, please.

 13               You indicated eight technologies were

 14    evaluated, and you list them on this slide.               What is

 15    "monitored natural attenuation"?            I think "no action"

 16    is self-explanatory.

 17    A.      So "monitored natural attenuation" is an

 18    approach that is taken to address groundwater

 19    contamination.       So once a chemical is in the

 20    groundwater, there are processes that occur that can

 21    retard that contamination's movement and also

 22    processes that can in fact slowly degrade or address

 23    the contamination.        Those processes collectively are

 24    referred to as "natural attenuation."

 25               Now, to evaluate whether that's going on, you
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  1    have to actually monitor the conditions.

  2    Q.      What does it mean to "monitor"?

  3    A.      One has to actually measure the groundwater in

  4    monitoring wells and take samples from those wells,

  5    have them analyzed to evaluate whether the natural

  6    attenuation processes are in fact restoring the

  7    groundwater in a reasonable period of time.

  8    Q.      So I take it monitored natural attenuation would

  9    be different than relying on natural attenuation

 10    without monitoring?

 11    A.      Well, it's hard to rely if you are not

 12    monitoring it.       You do not know if it's happening.

 13    You have to monitor it to know if it's happening or

 14    not.

 15    Q.      Is it important to do the monitoring?

 16    A.      Yes, it's very important.          One needs to know

 17    whether the natural attenuation processes are in fact

 18    sufficient to address the contamination and restore

 19    the aquifer.

 20    Q.      Are there sites in this case where you

 21    recommended monitored natural attenuation at some

 22    point in the process?

 23    A.      Yes.   I believe, actually, at all of the sites.

 24    We recommended at some point as part of the

 25    restoration program we would move to a monitored
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  1    natural attenuation approach.

  2    Q.      Was that at the beginning of the process or

  3    toward the end or what?

  4    A.      It's essentially toward the end.            So one would

  5    implement some other form of restoration to reduce

  6    contaminant concentrations to a point at which you

  7    believe monitored natural contamination could address

  8    the residual lower contaminations.

  9    Q.      And typically at these sites, where was that

 10    point where you thought you could transition from what

 11    I'm going to call active remediation or cleanup to

 12    monitored natural attenuation?

 13    A.      We indicated that we felt the appropriate point

 14    would be once one reached the groundwater quality

 15    standard -- that is, 70 parts per billion for MTBE,

 16    one could transition from active remediation or active

 17    restoration to monitored natural attenuation.

 18    Q.      Why did you select that level?

 19    A.      Based upon the work I've done at hundreds of

 20    sites, we often find there is a concentration of which

 21    active remediation would be no quicker addressing the

 22    low concentrations than just letting natural

 23    attenuation.      So one doesn't know exactly what that

 24    level might be, but we often find it's some multiple

 25    of the restoration goal.          And in looking at the
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  1    information for many of the sites, we felt an

  2    appropriate number would be a groundwater quality

  3    standard.

  4    Q.      The third technology you have evaluated was

  5    "enhanced biodegradation."          We talked earlier about

  6    injecting oxygen.        Is that an example?

  7    A.      Yes.   That's the most common approach taken to

  8    enhance biodegradation.

  9    Q.      Why would injecting oxygen enhance

 10    biodegradation?

 11    A.      Biodegradation in the subsurface occurs in two

 12    types of ways.

 13              One is aerobic; that is, degradation by

 14    bacteria that like oxygen rich environments; and

 15    anaerobic, which is a degradation by the

 16    microorganisms that prefer low oxygen environments.

 17    Q.      Which of the two tends to be faster in

 18    degrading?

 19    A.      So with respect to MTBE, one would prefer to see

 20    aerobic conditions.        Now, for certain other

 21    constituents, you are actually better off with

 22    anaerobic conditions.         So, for example, many of the

 23    chlorinated solvents that are released to the

 24    environment or the bacteria that degrade them prefer

 25    anaerobic conditions.
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  1    Q.      So literally by injecting oxygen you could make

  2    in an oxygenated environment that wouldn't exist in

  3    nature that enhances the biodegradation of MTBE.

  4    Correct?

  5    A.      That's correct, yes.        That's the intent behind

  6    many of those oxygen injection programs.

  7    Q.      Now, "soil vapor extraction," it applies to the

  8    vadose zone or unsaturated area because you are

  9    calling it soil?

 10    A.      Yes.   This is a technology that's used to treat

 11    contamination in the vadose zone.            That's above

 12    groundwater, floating on top of the groundwater, or

 13    also slightly mixed with that capillary fringe.                   Here

 14    we are relying on the natural volatility of the

 15    contaminant to partition into the vapor; that is, it

 16    moves from the gasoline and becomes a vapor within the

 17    pore space, and you essentially suck it out.

 18    Q.      Is that effective if the contamination is in the

 19    soil zone?

 20    A.      If it's in the soil and the contaminant is

 21    volatile in its pure phase, and the soil is relatively

 22    permeable, soil vapor extraction is extremely well.

 23    Q.      Basically, is the goal to remove massive

 24    contaminant from the subsurface?

 25    A.      Yes.   Essentially, the contamination that's
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  1    still present in the soil or present as LNAPL, is

  2    what's referred to as a secondary source.               It sits

  3    there and continues to contaminate groundwater.

  4    Therefore, the technology like soil vapor extraction

  5    is used to reduce that secondary source.

  6    Q.      Another technology you considered was in-situ

  7    air sparging.      Could you describe that for us, please.

  8    A.      In-situ air sparging is a process by which air

  9    or, in some cases, oxygen are injected below the

 10    groundwater table.        They accomplish two things.

 11              First, they can create a more aerobic

 12    environment, and the second, the physical injection of

 13    the air can partition or strip some of the dissolved

 14    constituents from the groundwater and move them into

 15    the vapor phase in the vadose zone where they can then

 16    be withdrawn by soil vapor extraction.

 17    Q.      What is "multiphase's extraction," briefly?

 18    A.      So this is essentially combining soil vapor

 19    extraction with the extraction of LNAPL, if it's

 20    accumulating in wells, and the extraction of very high

 21    concentrations of MTBE that are dissolved in the

 22    groundwater at the site itself.

 23              So it's widely used at the release site to not

 24    only get rid of contamination within the vadose zone,

 25    but also recover LNAPL and the very high
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  1    concentrations of MTBE in the groundwater.

  2    Q.       So multiphase literally captures vapor and

  3    water?

  4    A.       It's capturing in many cases vapor, pure

  5    gasoline, and water.

  6    Q.       What is "in-situ chemical oxidation"?

  7    A.       In this case, this technology not only injects

  8    oxygen to enhance aerobic conditions, but you inject

  9    an actual chemical at very high dosages to promote the

 10    physical oxidation of the contaminant.              That is, a

 11    chemical reaction will occur that eventually breaks

 12    the contaminant down ultimately to carbon dioxide and

 13    water.

 14    Q.       So it's a chemical attacks chemical process?

 15    A.       Essentially, yes.      You are injecting some

 16    oxidative compound, like hydrogen peroxide or fenton

 17    reagent to promote a physical reaction in the

 18    subsurface.

 19    Q.       The last technology listed is "pump and treat"?

 20    A.       Yes.   So pump and treat, we mentioned that

 21    earlier, this is where one puts in a pumping well

 22    that's specifically designed to intercept the plume,

 23    or it could be multiple wells that are pumped at a

 24    defined pumping rate to capture the contamination.

 25    You essentially pump it to pull in the contamination;
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  1    and then once it's pumped from the well, you treat it

  2    with some type of above-ground technology.

  3              MR. MILLER:      Your Honor, I'm about to shift to

  4    the two sites.

  5              THE COURT:      Off the record.

  6              (Off-the-record discussion.)

  7    BY MR. MILLER:

  8    Q.      Let's turn to the Exxon Livingston site first,

  9    please.     That's Plaintiff's Exhibit 4.           We've marked

 10    the PowerPoint into three sections, 3, 4, and 5.

 11              This is a description of some basic details

 12    about the Exxon Livingston site which is in a township

 13    in New Jersey.       Correct?

 14    A.      That's correct.

 15              On this figure to the left we could see an

 16    insert map which shows the State of New Jersey, and

 17    the yellow star would be the approximate location of

 18    this particular site.

 19    Q.      It's been a gas station since 1934, but MTBE

 20    wasn't a gasoline in 1934.          Is that your

 21    understanding?

 22    A.      That's my understanding, yes.

 23    Q.      Back here on the East Coast, when was MTBE

 24    introduced in the gasoline, approximately?

 25    A.      It varies, depending on location and oil
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  1    company, but I have seen examples where MTBE was added

  2    to gasoline in the late 1970s.           It was not added as an

  3    oxygenate.     It was simply added as an octane

  4    enhancement to improve the combustion of the gasoline.

  5    So it was added at much lower percentages.

  6    Q.      So if you add oxygen to gasoline, it literally

  7    raised the octane level that we are familiar with at

  8    the pump?

  9    A.      That's correct.       It allows the gasoline to burn

 10    more efficiently.

 11    Q.      In that particular case, Exxon Livingston, have

 12    they installed approximately 40 monitoring wells?

 13    A.      That is correct, yes.

 14    Q.      And those monitoring wells are used to gather

 15    measurements of various chemicals, including MTBE?

 16    A.      Yes.   They have a chemistry data set that

 17    extends over 15 years.         So they have been sampling the

 18    wells for over 15 years, and having those samples

 19    analyzed for gasoline constituents including MTBE.

 20    Q.      Did you evaluate the 15 years of chemistry data

 21    particularly as it applies to MTBE?

 22    A.      Yes, we did.

 23    Q.      And in terms of the extent of the documents you

 24    had on file, what is the size of the file, please?

 25    A.      With respect to this particular site, we
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  1    reviewed over 11,000 documents.

  2    Q.      Let's go to the next slide, please.

  3              There are some dots shown over an aerial

  4    photograph of the area.         What do the dots represent?

  5    A.      So this figure is actually taken directly from

  6    my expert report.        This is the service station in the

  7    area where we see the majority of the dots.               This is

  8    the Exxon Livingston site.          This is Livingston Avenue

  9    at Mount Pleasant, the main intersection here, and the

 10    dots -- most of them are approximate to the site or

 11    just to the west of the site, but there are also dots

 12    that extend about a third of a mile to the west of the

 13    site.    These are monitoring wells that have been

 14    installed by ExxonMobil.

 15    Q.      And is a public drinking water supply well also

 16    depicted?

 17    A.      Yes.   There are actually two supply wells

 18    depicted on here.        This is Livingston Supply Well 11,

 19    which is about a third of a mile to the west of the

 20    Exxon Livingston site, and there is also a commercial

 21    well for a liquor store that's to the southwest of the

 22    ExxonMobil site.

 23    Q.      Are we talking about an unconsolidated deposit

 24    environment, a fractured bedrock environment, or what?

 25    A.      So for this particular site we have a thin
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  1    veneer of unconsolidated sentiments, not so thin,

  2    30 feet or so; and below that we have bedrock.                So we

  3    are addressing contamination both within

  4    unconsolidated sediments and in the bedrock itself.

  5    Q.      So if we take the public drinking water supply

  6    well, Livingston 11, is that actually completed in

  7    drawing water from bedrock?

  8    A.      If I move down a few slides.           We go to this

  9    slide here.

 10    Q.      Is this kind of a map of the subsurface?

 11    A.      Yes.   First, let's look at this figure here,

 12    which is the map we just looked at, and it has two red

 13    lines on it.      These lines depict where we are going to

 14    show cross-sections.        These are vertical slices of the

 15    subsurface, and the cross-sections depict the

 16    geographic conditions that were mapped in the drilling

 17    of the wells.      So we're going to look at cross-section

 18    A prime that runs across the Exxon Livingston site to

 19    the northwest, and then to the public water supply

 20    well, Livingston Well No. 11.

 21    Q.      Where did you get the data to do the

 22    cross-sections from?

 23    A.      The data is collected by the consultants who

 24    drill and install the monitoring wells or the drilling

 25    company that installed the public supply well.                When a
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  1    consultant is retained, in this case for the majority

  2    of the wells, by ExxonMobil, when they drill the bore

  3    hole, that's the physical hole they drill into the

  4    subsurface within which they will install a well, they

  5    take samples of soil and rock they encounter, and they

  6    describe that on what's called a boring rock.                And, as

  7    my family says, yes, your job is pretty boring.

  8    Q.      So let's look at the cross-section that's along

  9    that line you have shown us that goes all the way to

 10    Well 11.

 11    A.      Yes.   It's difficult to read the particulars on

 12    this.    This is taken from my expert report.             This area

 13    here is the Exxon Livingston site.             We've marked the

 14    site.    The cross-section runs from just east of the

 15    site all the way to Public Water Supply 11.               It shows

 16    the type of geology that was detected when the

 17    monitoring wells were drilled as depicted by the

 18    consultants working for ExxonMobil.

 19    Q.      I see Zone A, as an example, the shallowest of

 20    the labeled zones toward the bottom of the figure that

 21    we have, and it extends all the way from the

 22    ExxonMobil site to the well.           Correct?

 23    A.      That is correct.       So when they investigated the

 24    site, ExxonMobil's consultants first identified the

 25    unconsolidated sediments that ranged from about 20 to
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  1    50 feet thick, depending on where you are; and at that

  2    point they entered the bedrock, and they classified

  3    the different layers of the bedrock, which is referred

  4    to as strata, those different layers, and they labeled

  5    them by A, B, C and D descending with depth beneath

  6    the ExxonMobil station.         So the shallowest bedrock

  7    zone they referred to as Zone A, and then it went B, C

  8    and D.     So these are the different bedrock layers.

  9               So the consultants evaluating the bedrock felt

 10    there were differences within the samples that allowed

 11    them to basically develop this layered model for the

 12    bedrock.

 13    Q.       Do you agree with them in the way they defined

 14    those zones?

 15    A.       Yes.    They have done a reasonably good job of

 16    characterizing the bedrock.

 17    Q.       Okay.

 18    A.       Now, as they advance more wells to the west of

 19    the station, they realized, because of the natural

 20    dip, that is, the slope of the bedrock layers, there

 21    was actually a bedrock zone above A, and they just

 22    referred to that as Zone Z.

 23    Q.       Why would the bedrock dip in this way?             Is there

 24    a brief way to understand that?

 25    A.       Without getting into a complex geologic
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  1    discussion, over time, historically, the layers may

  2    have been deposited flat horizontally, and then over

  3    time, because of the natural forces in the subsurface

  4    over millions of years, the layers can become bent or

  5    tipped; they can also become faulted and offset.                  So

  6    that's referred to as the dip.           That's the slope of

  7    those layers that has changed over time, and the slope

  8    that is now present.

  9               This slide, slide 3 of the set shows the

 10    regional geologic conditions.           So here we have the

 11    natural geologic conditions regionally in the area of

 12    Livingston, and we can see that same dip that occurs

 13    to the west within the geologic strata.

 14    Q.      If we go back to your cross-section, did MTBE

 15    make its way from the Exxon station all the way to

 16    City Well 11 to the city of Livingston?

 17    A.      Yes, it did.

 18    Q.      It was detected in the well more than once?

 19    A.      Yes.   There was a period of time MTBE was

 20    detected in the well, but in the recent sampling over

 21    the last few years no MTBE has been detected in Supply

 22    Well 11.

 23    Q.      Did you, in evaluating this site, evaluate

 24    whether there was some other MTBE source in the area

 25    besides the Exxon station in Livingston at 38 East
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  1    Mount Pleasant Avenue?

  2    A.      Yes.   We actually looked at data for two other

  3    service stations within this area.             One I remember was

  4    a Texaco station.        I can't remember the branding of

  5    the second station.        But we evaluated the contaminant

  6    and groundwater conditions at those two stations to

  7    determine whether they might have contributed to the

  8    MTBE detected at Livingston Supply Well 11.

  9    Q.      Did you also evaluate the nearest receptors or

 10    wells in doing your analysis for this site?

 11    A.      Yes, we did.      Obviously, we discussed Water

 12    Supply Well 11.       There are also a series of other

 13    water supply wells proximate to the Exxon Livingston

 14    site.

 15               This figure, again, is taken from the expert

 16    report.     The yellow star here is the Exxon Livingston

 17    site.     Then we have Public Water Supply Well 11.               We

 18    have other water supply wells that are proximate.                  The

 19    one of real concern is Water Supply Well 11.                But we

 20    also identified a commercial well at the Bottle Stop

 21    Liquor Store.

 22    Q.      What is the distance between the Exxon

 23    Livingston site that released MTBE in gasoline and

 24    Well 11?

 25    A.      We indicated here on this slide it's 1700 feet.
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  1    So about a third of a mile.

  2    Q.       Did you also compile a site chronology?

  3    A.       We did, yes.     We reviewed all of the

  4    documentation for this site and prepared a brief

  5    chronology both in text format, which ran many, many

  6    pages, of all of the actions that occurred at this

  7    site, particularly the investigation and remediation

  8    actions, and then we also prepared a bar graph to show

  9    those actions over time.

 10    Q.       Did Exxon actively remediate the site?

 11    A.       Yes, they did.

 12    Q.       Did they do that in general before or after they

 13    learned that MTBE was in City Well 11?

 14    A.       The majority of the remedial actions that have

 15    been implemented occurred after the discovery of MTBE

 16    in Water Supply Well 11.

 17    Q.       If you do remediation back at the site after

 18    it's been detected in a well a mile away, does that

 19    help over time?

 20    A.       Yes, it will.     You are removing the source of

 21    the contamination, the secondary source we talked

 22    about.     So one is limiting the amount of contamination

 23    that could ultimately over time impact groundwater.

 24    Q.       You mentioned the MTBE detections in City Well

 25    11 went away over time.          What do you attribute that
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  1    to?

  2    A.      I think the key factor would be the complexity

  3    of the hydrogeology.        Well 11 pumps water from

  4    fractured bedrock.        So there may be a period of time

  5    there was some contamination, a defined fracture that

  6    was intercepted by that well.           But over time that MTBE

  7    was no longer present in that fracture and hasn't been

  8    seen since then.

  9    Q.      Does that rule out the possibility that over

 10    time some other fracture may contribute MTBE to the

 11    well?

 12    A.      No, it does not.       The continued migration of the

 13    plume could ultimately impact the well at a subsequent

 14    time.

 15    Q.      Now, did you make recommendations concerning

 16    this site?

 17    A.      Yes, I did.

 18    Q.      In understanding your recommendations, the first

 19    thing we need to discuss is groundwater flow?

 20    A.      Yes.   You may recall part of the standard

 21    methodology I use and other consultants use in

 22    evaluating these contaminated release sites, we do a

 23    site-specific analysis, and one of the steps is to

 24    evaluate the hydrogeology and groundwater flow

 25    conditions.      How deep is the groundwater?           Which
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  1    layers, which strata is the groundwater present in?

  2    And which direction does the groundwater flow within

  3    those layers?

  4    Q.      At this site, the direction of groundwater flow

  5    literally changes depending on what area in the

  6    subsurface you are talking about.            Is that correct?

  7    A.      That is correct, yes.

  8    Q.      Can you explain that, please?

  9    A.      Certainly, yes.

 10              So ExxonMobil, as part of their investigation

 11    program, has installed wells at various depths.                   They

 12    are installed in different layers, different strata.

 13    Some of the wells go into the unconsolidated

 14    sediments; others are screened within defined bedrock

 15    layers.     And in quite a few locations, they have

 16    installed multiple wells at a single location.                These

 17    are often referred to as cluster wells.              So you have

 18    multiple wells, and they are completed at different

 19    depths.     That allows us then to monitor the water

 20    level in those wells that's specific to an individual

 21    layer and determining the groundwater flow direction

 22    in that layer.

 23    Q.      So what are the directions of the flow in the

 24    subsurface that vary?

 25    A.      Certainly, yes.
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  1               So based on the data that has been collected

  2    by ExxonMobil in the monitoring wells that they have

  3    installed, within the unconsolidated sediments the

  4    predominant groundwater flow direction is to the

  5    southwest.      Now, one has to understand, there is

  6    always some variation.         Groundwater flow changes with

  7    time to some degree.

  8    Q.      Does it change by season, for example?

  9    A.      By season.     It can change in response to well

 10    pumping.     But, In general, for the unconsolidated

 11    zone, the flow is to the southwest.

 12    Q.      Okay.

 13    A.      Now, when we look at the conditions within the

 14    bedrock, the wells that are completed in Zone B, that

 15    is the second bedrock layer beneath the Exxon station,

 16    the flow direction is also predominantly to the

 17    southwest.      We know, for example, that's the direction

 18    towards the commercial water supply well that was

 19    impacted.

 20    Q.      Well 11?

 21    A.      No, the commercial well I'm talking about to the

 22    southwest.

 23               Now, if we look at wells that are completed in

 24    Zone C, the layer below that, the water levels in that

 25    zone indicate a flow direction actually to the
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  1    northwest or west-northwest.           So it's almost

  2    90 degrees off from the flow direction in the layer

  3    above.

  4    Q.       And if we go to the northwest, we encounter City

  5    Well 11?

  6    A.       Correct.    That's the direction which we would

  7    find City Well 11.

  8    Q.       Could we go back to the map where you show the

  9    location of the commercial well, please.

 10    A.       Yes.   So this is the Exxon Livingston site.

 11    This is the commercial well southwest of the site.

 12    And this is the municipal water supply well to the

 13    west-northwest of the site.

 14    Q.       Does City Well 11 intercept the C zone where

 15    movement is to the northwest?

 16    A.       Yes.   It actually intercepts all of the zones

 17    that have been characterized as part of the

 18    investigation by ExxonMobil.

 19               So bedrock Zone Z, A, B, C, and D because they

 20    all dip to the west, but the public water supply well

 21    is very deep, so it intercepts all of the different

 22    bedrock zones that have been characterized by

 23    ExxonMobil.

 24    Q.       Can we turn to your slide 9 in this subset

 25    concerning the site where you characterize the
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  1    contamination.

  2              Historically, what was the maximum

  3    contamination of MTBE found at the Exxon Livingston

  4    site?

  5    A.      So the next step after we've evaluated

  6    groundwater flow conditions is, What are the

  7    contaminant conditions?         So where is it?       What's the

  8    extent?     What's the magnitude?

  9              When we summarize some of the magnitude

 10    information in this particular slide, where we have

 11    the three particular contaminants of concern, MTBE,

 12    TBA, and benzene, the first detected concentrations --

 13    that is, when they first sampled wells at the site,

 14    what was the concentration?           And the maximum

 15    concentrations detected over the entire 15-year

 16    record, which is now almost 17 years, and then the

 17    maximum in the most recent sample we had at the end of

 18    2016, that was documented in my 2017 expert report.

 19              So the maximum MTBE detected in a monitoring

 20    well related to the ExxonMobil site was 234,000 parts

 21    per billion, and this was in a sample taken from

 22    Monitoring Well 1, which is at the Exxon station taken

 23    in July of 2003.

 24    Q.      Is it located in the station somewhat near the

 25    underground storage tanks?
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  1    A.      Relatively close, yes.         This is close to where

  2    the release occurred.

  3    Q.      Today's most recent concentration that you give

  4    from your 2017 report is 74 parts per billion and

  5    change?

  6    A.      Correct.     The most recent sampling in December

  7    of 2016, the highest MTBE detected in any of the

  8    samples collected by ExxonMobil was 74.3 parts per

  9    billion.

 10    Q.      And what do you attribute that decline to?

 11    A.      It's attributed to the active remediation that

 12    ExxonMobil has been implementing for many years at

 13    this site.

 14    Q.      Does the remediation at the site -- I realize

 15    you said it produces concentrations further away over

 16    time.     But does it actually address the contamination

 17    that has already left the site directly?

 18    A.      It does not address the contamination that has

 19    migrated away from the site some distance.               Obviously,

 20    what it does, it cuts off the source.              So now we have

 21    a finite concentration and massive contamination

 22    off-site.

 23    Q.      And if you don't clean up the source, what

 24    happens instead?

 25    A.      Instead you got continued loading of the
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  1    contaminant into the groundwater and continued

  2    migration of those higher concentrations off-site.

  3    That's the importance of doing on-site source

  4    remediation.

  5    Q.      Now, did you make recommendations in your report

  6    of 2013 that Exxon actually made a comparable change

  7    to what they have done in the past as a result of your

  8    recommendations?

  9    A.      Yes.

 10              MR. LENDER:      Objection, your Honor.

 11    Foundation, because it was his recommendations.                   We

 12    would like to get a foundation for that.

 13              THE COURT:      I'm not sure of your objection.

 14              MR. LENDER:      Just the foundation.         Whatever

 15    ExxonMobil did was because of his expert report.                   I

 16    would like a little foundation that was assumed in the

 17    question.

 18              THE COURT:      I understand.

 19              MR. MILLER:      I can try and lay that

 20    foundation, your Honor.

 21    BY MR. MILLER:

 22    Q.      When you prepared your report in 2013, did you

 23    make some recommendations concerning additional

 24    activities that should occur at the site?

 25    A.      Yes, I did.      In particular, I recommended that
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  1    the high levels of contaminant that were detected

  2    immediately west of the site, they were off-site, but

  3    immediately to the west, those should be remediated

  4    also.     And, in addition, I also recommended an that

  5    additional investigation more distant from the site be

  6    conducted.     Those are just two of the recommendations

  7    I made.

  8    Q.      And did Exxon do something after you made those

  9    recommendations in the areas you've just described?

 10    A.      Yes.   Between the production of my expert report

 11    in 2013 and my evaluation of data in 2017 for this

 12    site, ExxonMobil had expanded their remediation

 13    program to pump contaminated groundwater from the west

 14    of the station, and they pumped that water to their

 15    on-site treatment system.          So they had expanded

 16    remediation to the area immediately west of the

 17    station.

 18    Q.      Let's take that a step at a time.            You take

 19    contaminated groundwater.          It has MTBE in it.        You

 20    said you treat it.        What do you physically do to

 21    remove the MTBE?

 22    A.      So the technology that's most used and used in

 23    this case is one passes that contamination or the

 24    contaminated water through vessels that contain

 25    granular activated carbons.           So this is a media that
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  1    absorbs contamination.         It's usually made from either

  2    ground up coconut shells or bituminous coal that's

  3    been ground up.

  4    Q.      So if we looked at a filter for a fish tank, it

  5    would be similar to those granules if it was

  6    bituminous?

  7    A.      Yes.   Often people have filters in their own

  8    home that you can actually attach to the tap.                They

  9    contain a granular activated carbon.               So they absorb

 10    organic chemicals.

 11    Q.      So that filter can be used to literally remove

 12    MTBE to what level?        We start out with contaminated

 13    groundwater.      We have to go through the treatment.

 14    What do you have?

 15    A.      Essentially, the system is operated so it's

 16    non-detect below the PQL.

 17    Q.      Did ExxonMobil use a treatment process at the

 18    station to clean up contaminated groundwater?

 19    A.      Yes.   They used that process.

 20    Q.      Did they also use it in the western area

 21    off-site that you described recommending they install

 22    treatment in?

 23    A.      Yes.   They used the existing treatment system

 24    they had on site and they just ran plumbing to

 25    off-site wells just to the west, installed pumps in
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  1    those wells, and pumped that contaminated groundwater

  2    to their on-site system.

  3    Q.      Do you agree that action on their part of

  4    installing treatment in the western area was

  5    appropriate and necessary?

  6    A.      Yes.   It was consistent with the recommendations

  7    I made in my 2013 report.

  8    Q.      Now, you mentioned that in addition to

  9    recommending treatment in the western area in 2013,

 10    you recommended some off-site investigation.                What was

 11    your goal in recommending that off-site investigation?

 12    A.      So in 2013 we had quite limited off-site data

 13    related to the release at the ExxonMobil station, that

 14    is, more distant beyond, say, Livingston Avenue, and,

 15    therefore, I had recommended the investigation of some

 16    depth discreet monitoring wells; that is, you complete

 17    the bore holes and install monitoring wells that are

 18    screened within specific layers.

 19    Q.      Why would you want them in specific layers?

 20    A.      Because one wants to know specifically where is

 21    the contamination in the subsurface, in which

 22    particular layers, and also one could then calculate

 23    where is it moving in those individual layers.

 24    Q.      Did Exxon do anything after 2013 in your report

 25    to conduct investigation in that area that you
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  1    described?

  2    A.      Yes.   They did advance some very deep bore holes

  3    and completed sampling points at specific depths,

  4    within specific layers at those locations.

  5    Q.      And is that part of what you recommended?

  6    A.      Yes.   That was somewhat consistent with what I

  7    recommended in 2013.        I actually recommended more

  8    locations, but they had advanced some of those

  9    locations by 2017.

 10    Q.      And did that investigation have something to do

 11    with the distance from the service station to City

 12    Well 11, Livingston Well 11?

 13    A.      Well, the investigation was in that general

 14    direction and was more off-site towards the water

 15    supply well.

 16    Q.      And prior to the time that you recommended it,

 17    had Exxon placed any monitoring wells in the distance

 18    between the station once we get away from a station

 19    itself and City Well 11?

 20    A.      Well, historically, they had installed

 21    monitoring wells just to the west, as far as

 22    Livingston Avenue.

 23    Q.      A distance of how far about?

 24    A.      Maybe 350, 400 feet.

 25    Q.      So we have another almost a thousand feet to go
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  1    before we get to City Well 11?

  2    A.      Correct.

  3    Q.      And did you recommend that monitoring wells be

  4    put over that distance?

  5    A.      That is where I focused the additional

  6    investigation that I recommended for this site.

  7    Q.      And did the contamination of MTBE in City Well

  8    11 have something to do with that recommendation?

  9    A.      Yes.   Obviously, we understood that well had

 10    been contaminated at some point in the past.

 11    Therefore, we felt it was highly likely that there was

 12    going to be some contamination within the bedrock to

 13    the west of Livingston Avenue.

 14    Q.      When those monitoring wells were drilled, did

 15    they determine that MTBE was in that additional

 16    distance between the furthest point of on-and-off-site

 17    monitoring associated with the Livingston station and

 18    the well, so when they drilled in the area you

 19    recommended, did they find MTBE?

 20    A.      They did find MTBE at certain locations and at

 21    specific depth intervals.

 22    Q.      And how were you able to predict what direction

 23    and what depth they should test and then find MTBE at

 24    that location?

 25    A.      Well, one evaluated first the groundwater flow
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  1    conditions, so which direction was groundwater flowing

  2    in, particularly, in the deeper bedrock, and where had

  3    historically MTBE been detected.

  4              We knew there were several detections at Water

  5    Supply 11.     We also knew there had been detections of

  6    MTBE right up to Livingston Avenue, just south and

  7    north of Mount Pleasant.          So generally we knew from

  8    the distribution of the existing contamination and the

  9    groundwater flow direction that it was highly likely

 10    that contamination would be present west of Livingston

 11    Avenue.

 12    Q.      Is is your opinion that the Exxon Livingston

 13    station is the likely source of MTBE if it was

 14    detected in City Well 11?

 15    A.      Yes.

 16    Q.      And at the time you made your initial

 17    recommendations in 2013, had Exxon acknowledged that

 18    they were the source of contamination in City Well 11?

 19    A.      Not that I'm aware of.

 20    Q.      I want to turn to your key opinions.             There are

 21    quite a list of them.

 22              Did you develop this set of posed questions

 23    for each of the sites and answered them based on the

 24    data for individual sites?

 25    A.      Yes.   I developed a set of 21 specific questions
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  1    that I would address for each individual site.                So my

  2    answer to those questions would essentially be then

  3    from this list of opinions.           So these questions were

  4    posed for every single site I evaluated, and the

  5    answers vary between sites based upon the

  6    site-specific information, and the answers were the

  7    opinions.

  8    Q.      For example, in question 6, you answered "no"

  9    because in your opinion no release from a different

 10    site commingled with the Exxon release?

 11    A.      I could not conclude that it was more likely

 12    than not that such a commingling of contamination had

 13    occurred.     Therefore, my opinion is that, no, such

 14    commingling had not occurred.

 15    Q.      And in 2013, did you form the opinion the Exxon

 16    Livingston site was not only a threat, if we look at

 17    question 20, to the deep aquifer but also to potential

 18    receptors, namely, wells?

 19    A.      Yes, I did.

 20    Q.      In your opinion, did the additional

 21    investigation done after 2013 that you've described in

 22    this courtroom between the station and the well

 23    confirm that opinion?

 24    A.      Yes, it did.

 25    Q.      In other words, we now know that the release at
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  1    the Exxon station in your opinion is not just a threat

  2    to that well, it is the source of the MTBE in that

  3    well.    Is that correct?

  4    A.      The source of the contamination that had been

  5    previously detected in that well.

  6    Q.      Now, in essence, samples were taken along the

  7    line between the station and the well, and MTBE was

  8    found when they drilled a well at an appropriate depth

  9    along that distance.        Is that correct?

 10    A.      That is correct.

 11    Q.      How does that support or reject your opinion

 12    that it is the source?

 13    A.      We now know, based upon the additional

 14    investigation that ExxonMobil has been performing,

 15    that MTBE contamination is present in discrete bedrock

 16    zones to the west of Livingston Avenue, and that

 17    contamination is contiguous with the contamination on

 18    the east side of Livingston Avenue; that is, there is

 19    now contamination present between the ExxonMobil

 20    station almost all the way to the Public Water Supply

 21    Well 11.

 22    Q.      Okay.    Let's turn to the feasibility study that

 23    you did for this site.

 24               We previously talked about each of the

 25    technologies.      You've abbreviated them under the
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  1    heading "Approach" in this table?

  2    A.      Correct, yes.      We have not included the "No

  3    Action."     We just included the seven other approaches.

  4    Q.      Some of the technologies are listed as low, some

  5    are medium, and some are high.            What does "high"

  6    referred to?

  7    A.      So you may recall, as part of the feasibility

  8    evaluation, we evaluated the eight technologies under

  9    three criteria.

 10               "Effectiveness" -- that is, would they be

 11    effective at addressing the contamination and lowering

 12    the risks to the environment and public health?

 13               The second being their "implementability."

 14    Can you implement them?          That is both technical

 15    implementation, can you physically do it, and

 16    administrative implementation?            Would you be allowed

 17    to do it?

 18               The third element would be a relative term of

 19    "costs."     Are the costs low, medium, or high?             Both in

 20    terms of capital, what you have to spend to put the

 21    system in in the first place, and then long-term

 22    operating cost.

 23               THE COURT:     So the OMM is your operating?

 24               THE WITNESS:      Operation and maintenance.

 25    Q.      And the capital cost is the cost of installing
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  1    the treatment system or technology.                Correct?

  2    A.      It's installing the pumping wells, the plumbing,

  3    the infrastructure for the treatment plant, the

  4    treatment plant itself, the design and permitting of

  5    all of that.      So it's all of those up-front costs that

  6    occur in a short period of time.

  7    Q.      So all of the technologies had a medium

  8    operating maintenance cost, except for pump and

  9    treatment which is rated as high, so it would be more

 10    expensive?

 11    A.      No.    Actually, the way the evaluation is

 12    conducted, if the technology has low effectiveness and

 13    low implementability, then we don't consider the cost

 14    because, clearly, it's not going to be effective and

 15    it's not going to be implemented; therefore, the cost

 16    is irrelevant.       So the little dash there means we

 17    don't have to evaluate the cost.            So we only evaporate

 18    costs for technologies that are rated medium or high

 19    in terms of their effectiveness and implementability.

 20    Q.      Now, had Exxon already implemented some of the

 21    technologies listed, for example, soil vapor

 22    extraction at the site?

 23    A.      Yes.    For the vadose zone, they had implemented

 24    a remediation system onsite that utilized soil vapor

 25    extraction.
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  1    Q.      Did it work?

  2    A.      Yes.   It has worked quite well.

  3    Q.      To explain, why did you list it as low in

  4    effectiveness?

  5    A.      Because here we are looking at its effectiveness

  6    to address the groundwater contamination, and SVE is

  7    not really applicable to groundwater.              SVE which is

  8    the acronym for soil vapor extraction is not really

  9    applicable for groundwater.           It's used to treat

 10    contamination above the groundwater.

 11    Q.      So the technologies that you believe, based on

 12    your site-specific information are likely to be

 13    effective, are listed as monitored natural attenuation

 14    off-site as opposed to on-site.            Correct?

 15    A.      Correct.

 16    Q.      And pump and treat?

 17    A.      That is correct.       And the pump and treat would

 18    be both for on-site contamination and the near-site.

 19    That is the area just to the west where high

 20    concentrations have been detected.

 21    Q.      Did Exxon also use the pump and treat technology

 22    with respect to the site?

 23    A.      Yes, they did.      They implemented initially an

 24    on-site pump and treat program; and after 2013, they

 25    expanded it to include pump and treat just to the west
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  1    of the site.

  2    Q.      So does it appear in terms of Exxon's actions

  3    they formed a similar opinion on the technology which

  4    should be used and where it should be used?

  5    A.      Yes.   The actions that Exxon has taken at this

  6    site are consistent with my recommendations.

  7              THE COURT:      Let me understand.        You said they

  8    did pump and treat on or near the site just west of

  9    the site, and your recommendation is just west of the

 10    site.    So are you suggesting there is anything else

 11    that needs to be done with regard to pump and treat or

 12    has that been completed?

 13              THE WITNESS:      With respect to this particular

 14    site, the current pump and treat system is the only

 15    active remediation or active restoration program that

 16    is required at this site.          The remaining parts of the

 17    contamination could be addressed through monitored

 18    natural attenuation.

 19              THE COURT:      So your opinion is pump and treat

 20    is no longer an issue for restoration?

 21              THE WITNESS:      That is correct because

 22    ExxonMobil is already doing that.

 23              THE COURT:      So the only issue for this site

 24    is, as you see it, the monitoring wells?

 25              THE WITNESS:      There are actually two issues.
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  1              One is the ongoing monitoring of the wells to

  2    demonstrate that natural attenuation is controlling

  3    the contamination and reducing the concentrations into

  4    the future.

  5              The second thing is there is still required

  6    some off-site investigation required.

  7              THE COURT:      I wanted to know what we are

  8    limiting ourselves to as to what still needs to be

  9    done in your opinion.

 10              Maybe this is a good time to break.             Let's be

 11    back at around 1:10, please.

 12              THE DEPUTY CLERK:        All right.

 13              (The luncheon recess is taken.)

 14              (Continued on the next page.)

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  1                     A F T E R N O O N          S E S S I O N

  2

  3              (In open court.)

  4              THE DEPUTY CLERK:        All rise.

  5              THE COURT:      Thank you.

  6              You may continue.

  7

  8    ANTHONY BROWN, resumed.

  9

 10    DIRECT-EXAMINATION (continued)

 11    BY MR. MILLER:

 12    Q.      Good afternoon.

 13    A.      Good afternoon.

 14    Q.      Mr. Brown, is the process of cleaning up

 15    contaminated groundwater on-site and to the west,

 16    those two extraction wells pumping to the centralized

 17    treatment system, is that completed or is it ongoing?

 18    A.      As of the time of the preparation of my updated

 19    expert report in 2017, it was still ongoing.

 20    Q.      And did you in your 2017 report take into

 21    account that Exxon had done some of the work that you

 22    had proposed so as to eliminate those items from your

 23    estimate?

 24    A.      Yes.   When you consider what I had recommended

 25    in 2013, ExxonMobil had actually done some of that
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  1    work between 2013 and 2017.           Therefore, I updated my

  2    recommendations in 2017 just to reflect what I felt

  3    was outstanding.

  4    Q.      Okay.    I want to go to where we are today.              So I

  5    want you to skip forward to site restoration.

  6              This is a summary of your recommendations in

  7    your report.       Is that correct?

  8    A.      On the 2017 report, yes.

  9    Q.      You recommend six monitoring well clusters.                You

 10    previously described a cluster well is where you have

 11    multiple completions basically in the same hole?

 12    A.      Actually, no.      A cluster well are monitoring

 13    wells completed in different holes very close to each

 14    other, within a few feet of each other.

 15    Q.      Hence, the name "cluster"?

 16    A.      Correct.

 17    Q.      And the reason you have several of them is so

 18    that you can do depth discrete sampling?

 19    A.      That is correct.       You may recall, we have

 20    consolidated zones, and within the bedrock, we have

 21    Zones Z, A, B, C, D, and then clearly even zones below

 22    that.    So we had recommended that the wells be

 23    screened in those individual zones.

 24    Q.      And what did the six monitoring well clusters

 25    have to do with your site restoration plan?
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  1    A.      Essentially, they would allow us first to have

  2    greater understanding of the distribution of the

  3    contamination within the aquifer to the west of the

  4    Exxon site, and then those wells can be used to

  5    perform the ongoing monitoring needed to demonstrate

  6    natural attenuation was sufficient to ultimately allow

  7    the restoration of groundwater to a pre-discharge

  8    condition.

  9    Q.      So the monitored part of natural attenuation,

 10    your proposal is six well clusters?

 11    A.      Actually, the monitoring would be done on all of

 12    the wells.     This means we believe there were still six

 13    locations where additional data was needed.

 14              THE COURT:      And how many wells was that going

 15    to include?

 16              THE WITNESS:      To date, there are 40 monitoring

 17    wells at the site, and then we are proposing six

 18    clusters.

 19              THE COURT:      When you say "clusters," how many

 20    in a cluster?

 21              THE WITNESS:      It varies.      In some there's only

 22    two, and in other there are five.            I can't remember

 23    the exact number, but it's probably on the order of

 24    about 20 more monitoring points.

 25              THE COURT:      Is there any issue with the
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  1    location of them and who owns the property?

  2              THE WITNESS:      We don't believe so.         We tried

  3    to position them either on property where wells have

  4    already been installed or on properties where we

  5    believe you should be able to get access.

  6    BY MR. MILLER:

  7    Q.      The recommendation for six monitoring well

  8    clusters is specifically tailored to this site and

  9    MTBE concentration factors?

 10    A.      Correct.     Those are specific to the conditions

 11    at this particular site.

 12    Q.      Is that particular set of recommendations

 13    contained in your 2017 report?

 14    A.      It is, yes.

 15    Q.      And was an earlier version with additional

 16    recommendations in your 2013 report?

 17    A.      There was in my 2013 report.           There were

 18    additional recommendations within that report.

 19    Q.      And you've downsized them to fit the current

 20    situation?

 21    A.      Correct.     ExxonMobil had performed certain

 22    actions subsequent to 2013 that required me to reduce

 23    the scope of the recommendations for this site in

 24    2017.

 25    Q.      Next slide, please.
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  1               This is your list of site restoration products

  2    of a part of 2017 expert report?

  3    A.      That is correct, yes.

  4    Q.      There is only one item that has an asterisk,

  5    "well-head treatment system design permitting," 59

  6    thousand and change, and the asterisk at the bottom

  7    says, "claim withdrawn."

  8               MR. MILLER:     Your Honor, to clarify, we've

  9    notified counsel in writing that we are not making

 10    that claim in view of the current situation.                The rest

 11    of it describes the additional work that needs to be

 12    done for --

 13               THE COURT:     That should be crossed out and

 14    that amount deducted.         Right?

 15               MR. MILLER:     Correct.

 16               THE COURT:     Thank you.

 17               THE WITNESS:      I should clarify.       There is also

 18    a contingency that would be deducted as well.                So the

 19    total that would be deducted is the 59,000 for that

 20    line item and another 10,000 of contingency.

 21               THE COURT:     But you have $247,410 on

 22    contingency.      You are only taking a small amount out

 23    of that?

 24               THE WITNESS:      10,000, which would be the

 25    contingency related to the well-head treatment.
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  1               THE COURT:     Tell me what "contingency" means.

  2               THE WITNESS:      So obviously when performing a

  3    investigation and restoration program, when one

  4    develops an initial cost, there is always some degree

  5    of uncertainty what the ultimate cost might be, and in

  6    fact I think it's probably pretty normal in our

  7    business to find that the ultimate cost is often more

  8    than one initially estimates.

  9               Sort of when you get a contractor to do some

 10    work on your house, the chances of him coming under

 11    that bid are pretty slim.          So, generally, we find that

 12    the costs are greater because of uncertainties.                   So

 13    the contingency addresses those uncertainties.

 14               THE COURT:     How did you determine what the

 15    contingency is?       A certain percentage?

 16               THE WITNESS:      Correct.     For this site it's 15

 17    percent, and it's based upon contingency factors that

 18    are documented by USEPA for when one is preparing such

 19    costs.

 20               THE COURT:     Okay

 21    BY MR. MILLER:

 22    Q.       Did you also use the standard methodology for

 23    coming up with the costs?

 24    A.       Yes, we did.

 25    Q.       Could you briefly describe it.
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   1   A.      Certainly.      So what we did is we developed

   2   essentially a very large menu of likely items that

   3   would have to be done at any particular service

   4   station, and I believe they were on the order of 70

   5   different items on the menu from installation of the

   6   monitoring well in bedrock to 50 feet might be one

   7   line item.      It could be the installation of a granular

   8   activated carbon treatment system.

   9              So there were various line items that when one

  10   looks specifically at the site you would pick from the

  11   menu, and the line item costs were based on either

  12   fixed hard numbered bids that we received from local

  13   contractors, estimated costs from publications.                    There

  14   are a series of publication put out that document

  15   typical construction costs.           And then also for

  16   professional services, our own estimate, as to what

  17   those would be.

  18              THE COURT:     Could you just explain -- because,

  19   obviously, if I added every one of these line items,

  20   it's more than your bottom line.             So what am I

  21   actually adding?

  22              THE WITNESS:      So you are actually adding the

  23   total capital cost --

  24              THE COURT:     Take out the cost of the

  25   monitoring wells on top.
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   1              THE WITNESS:      So the monitoring wells and the

   2   wellhead capital --

   3              THE COURT:     That was all part of the total

   4   capital.

   5              THE WITNESS:      -- would have come into total

   6   capital.

   7              THE COURT:     Got it.

   8              THE WITNESS:      Because the wellheads come out,

   9   the total capital amount would be the 860,000.                 Then

  10   you are adding that to the NPV monitoring, the

  11   730,000.     That's based on the annual monitoring

  12   cost and --

  13              THE COURT:     It's the 159,449 is per year and

  14   you multiply that by five.

  15              THE WITNESS:      Five, and you adjust it for net

  16   present value.

  17              THE COURT:     Okay.     I've got it.

  18              THE WITNESS:      And that comes to 730,000.            And

  19   then you have a contingency on top of those two

  20   numbers, which is 15 percent of the total.                So you are

  21   adding it up.       In this case now one item has been

  22   removed -- 860, 730, and 247.

  23              THE COURT:     I have it.      Thank you.

  24   BY MR. MILLER:

  25   Q.      Why did you recommend monitored natural
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   1   attenuation for five years versus some other period of

   2   time, please?

   3   A.      Well, we actually performed an analysis of how

   4   long the contamination would persist from 70 parts per

   5   billion to 1 part per billion based upon certain

   6   degradation factors; and based on the various

   7   scenarios we run, it was somewhere from five to

   8   70 years.       Therefore, we took the most conservative,

   9   that is, the lowest number of years in developing our

  10   costs, even though it could run much longer than that.

  11   Q.      Okay.     There is some discussion in the papers

  12   about FLUTe wells versus cluster wells. What is a

  13   FLUTe well?

  14   A.      So a FLUTe well is a fairly innovative new

  15   approach to completing multi-level monitoring points.

  16              So you may recall, what we are recommending is

  17   multiple wells close to each other in a cluster.

  18   There are a variety of approaches that can be used to

  19   draw a single hole, and complete a much more

  20   complicated completion that has multiple sample ports.

  21              So essentially you only have one hole, it's a

  22   bigger hole, but then you have a much more complicated

  23   completion.       FLUTe well is one of those types of

  24   approaches.       The other one we often see commonly is

  25   called a Westbay system.
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   1   Q.      What is the concern, if any, with either the

   2   Westbay or FLUTe systems, if you could briefly explain

   3   that?

   4   A.      Generally, the concern when one is completing a

   5   single bore hole with multiple sample ports is that

   6   you can get a cross contamination between the ports

   7   because essentially your seal between the ports is

   8   quite small.       Therefore, that seal can become pump

   9   compromised.       So there is greater concern about how

  10   valid the results would be from a multi port versus a

  11   cluster well where you know the well is completed just

  12   in just one zone.

  13              THE COURT:     Are FLUTe wells accepted?

  14              THE WITNESS:      Yes, they are.          Westbays are

  15   too.    They have been around longer.               With the history

  16   I know of, there have been a lot of problems with

  17   Westbays, and I had clients that drilled them out and

  18   had to replace them.

  19              THE COURT:     I'm not sure I got a

  20   differentiation between Westbays and FLUTe wells.

  21              THE WITNESS:      They are actually just two

  22   different methodologies to complete a multiple sample

  23   ports in a single bore hole.

  24   BY MR. MILLER:

  25   Q.      If, for purposes of understanding this FLUTe
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   1   well concept, you have shallow contamination at a

   2   particular layer, and you have a desire or need to

   3   sample lower than that, what would happen if the

   4   single bore hole was used and the system failed for

   5   any reason, to maintain separation for each of the

   6   layers where they are taking samples?

   7   A.      Obviously, the concern then is you get cross

   8   contamination between the layers.             So your sample is

   9   no longer as valid because it doesn't represent a

  10   single zone.

  11              Now, the way the wells are intended to be

  12   installed, the hope is that that doesn't occur.

  13   Unfortunately, with the history I know of the Westbay

  14   system, it had occurred quite a bit of time in these

  15   multiple completions.

  16   Q.      Could you literally introduce how it

  17   contaminated groundwater that is shallow into a deeper

  18   zone?

  19   A.      You could.      That would mean you would be

  20   installing one of these wells in an area where there

  21   is very high shallow contamination, which generally

  22   that's not where they are installed.                They are usually

  23   installed more distant from the release.

  24              So you would usually be in monitoring levels

  25   that are in tens or hundreds of parts per billion, not
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   1   the tens of thousands.

   2              THE COURT:     So that's not a real concern.

   3              THE WITNESS:      Particularly for this site, that

   4   would not be a concern.

   5              These wells, the FLUTe wells that have been

   6   installed, are out in the more distant location where

   7   one would not expect to see very high levels in

   8   shallow zones.

   9   Q.      Are FLUTe wells relatively new?

  10   A.      The gentleman that developed them developed them

  11   some time ago.       But I would say they have only been

  12   used more widely in recent years.             In fact, this is

  13   the first case I'm aware of where FLUTe wells were

  14   used.     I'm sure they've been used elsewhere, but it's

  15   the first one that I have come across.

  16   Q.      Did the FLUTe wells have a track record that

  17   tells us how reliable they are?

  18   A.      I couldn't say.       I have not evaluated the

  19   technology in its wide-spread use.

  20   Q.      Okay.    Why did you recommend cluster wells

  21   instead of FLUTe wells?

  22   A.      Cluster wells provide a more rigorous sampling

  23   process.     Because you are drilling an individual bore

  24   hole for each sample interval, you know you have

  25   eliminated the risk of cross contamination if you
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   1   complete the well perfectly, which would be a normal

   2   well completion process.

   3              In addition, many of the existing locations

   4   that have been drilled by ExxonMobil were already

   5   cluster wells.       They had already been using that

   6   approach to investigate the contamination at the site

   7   up until the more recent period when they had used

   8   some FLUTe wells.

   9              THE COURT:     What is the difference in cost

  10   between a FLUTe well and a cluster well?

  11              THE WITNESS:      I don't know the exact number.

  12   I would anticipate because it's a single bore hole or

  13   be it a larger bore hole, the FLUTe wells would be

  14   less expensive.

  15              THE COURT:     You don't know if it's

  16   demonstrably less or what the cost actually is?

  17              THE WITNESS:      I don't.     We reviewed the expert

  18   reports for ExxonMobil's experts and we couldn't

  19   identify any cost they presented as to the cost of the

  20   FLUTe wells.

  21              THE COURT:     So essentially your opinion today

  22   is based on what you think is the best course to take,

  23   and it's not looking at a cost comparison because you

  24   don't really know what the cost differential would be?

  25              THE WITNESS:      I think that's a reasonable
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   1   summation, yes.

   2              THE COURT:     Is FLUTe a brand name?

   3              THE WITNESS:      I think it may even be

   4   trademarked.

   5              THE COURT:     Thank you.

   6   BY MR. MILLER:

   7   Q.      Now, the defendants in their papers claim that

   8   your recommendation for five years of monitored

   9   natural attenuation was arbitrary and duplicative.                      Do

  10   you have a response?

  11              MR. TULLY:     Your Honor, I'm just curious, no

  12   part of this defendant's motion is seeking to exclude

  13   this expert on his cost calculations.               I'm just not

  14   sure this is a productive use of our time.

  15              MR. MILLER:      I'll stop, with the Court's

  16   permission.

  17              THE COURT:     Okay.    Go ahead.

  18   BY MR. MILLER:

  19   Q.      I want to move to the Bakers Gulf service

  20   station site.

  21              MR. MILLER:      Which is Plaintiff's Exhibit 5 in

  22   the PowerPoint, your Honor.

  23   Q.      This is a station located on the Franklin

  24   Turnpike in Waldwick, New Jersey, and you reviewed the

  25   history of the site and you summarized it here.                    Is
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   1   that correct?

   2   A.      Correct, yes.

   3              In this slide we show on the left just the

   4   vicinity of the site, and the yellow star in the

   5   middle is the location of the service station.                 The

   6   insert map is the State of New Jersey, and we can see

   7   this site is in the northeast corner of the state, and

   8   then we summarize its location and the history as an

   9   operating gasoline station.

  10              MR. TULLY:     Your Honor, before we go further,

  11   if we can get some clarification, a number of slides

  12   referred to, and, therefore, I'm expecting the

  13   testimony the witness will be attempting to give

  14   relate to information that was not considered as part

  15   of the August 2017 supplemental report, and that's the

  16   basis of our motion.

  17              I just wanted to get some guidance because it

  18   would be inappropriate to now supplement essentially

  19   his expert report by testifying as to data that he did

  20   not review.

  21              THE COURT:     That he did not review.          You mean

  22   didn't review at the time of his 2017 report.

  23              MR. TULLY:     Some of which was not even sought

  24   after the 2017 report, and plaintiffs concede in their

  25   briefing that information that was provided as to many
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   1   of these well locations, it was provided in 2013, and

   2   it is not referenced in any fashion in the 2017

   3   report.

   4              And now in these slides, if you look at the

   5   back of the deck, apparently the testimony will be as

   6   to that data, starting at slide 17 -- your Honor, this

   7   is what we pointed out in our reply.

   8              The witness also submitted an affidavit in

   9   support of the opposition to the Daubert motion that

  10   made some of these same points.            And as we argued in

  11   our reply, I think quite correctly, you just can't do

  12   that.     He's now essentially supplementing his 2017

  13   report with information that he apparently didn't even

  14   have when he finalized that report.

  15              That's the essence of our motion, your Honor.

  16   So this examination and cross-examination will take a

  17   very different tact if he's either allowed to

  18   supplement his report, which I contend he should not

  19   be, or if he is.

  20              THE COURT:     Mr. Miller.

  21              MR. MILLER:      Your Honor, I use a PowerPoint as

  22   a guide, and you will see that I adjust my questions

  23   to the situation and don't necessarily go over every

  24   point in the PowerPoint just as I had not yet.                 When

  25   we get to that area, I can explain what we are doing
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   1   and why we are doing it the way we are.               I thought it

   2   was important to put it in context --

   3              THE COURT:     The underlying question being

   4   raised is, Are there now attempts to give opinions

   5   about matters for which there was evidence prior to

   6   the submission of his report, which he did not include

   7   in his original report but is now opining on.

   8              MR. MILLER:      His opinions have not changed one

   9   iota at all.       In fact, this data that they are talking

  10   about is in my judgment trivial compared to the total

  11   amount of data that was used and the total number of

  12   documents that were used.          I think we need to put it

  13   in that context, and it will assist the Court in

  14   deciding whether or not their point has any real

  15   relationship to his opinions.

  16              THE COURT:     I'm going to allow some testimony

  17   on it.     We'll put it in context when he

  18   cross-examines --

  19              MR. TULLY:     I was going to suggest, if we take

  20   it conditionally --

  21              THE COURT:     That's fine.       I think that's the

  22   way to go.

  23              MR. MILLER:      I have no objection to taking it

  24   conditionally.

  25              THE COURT:     All right.      Please continue.
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   1   BY MR. MILLER:

   2   Q.      Can we go to the next slide which discusses the

   3   site location.

   4              There are about 40 monitoring wells associated

   5   with this site.       Correct?

   6   A.      There are 40 monitoring wells that either have

   7   been installed by the parties responsible for the

   8   release at the Gulf station or installed by other

   9   parties but monitor the contamination associated with

  10   the release at the Gulf station.

  11   Q.      We'll get to the other parties in a little bit.

  12              Basically, those 40 monitoring wells

  13   associated with the station, you have chemical

  14   monitoring data for MTBE and TBA for how many years?

  15   A.      For 19 years.

  16   Q.      Do you regard that as a sufficient data set in

  17   which to base opinions?

  18   A.      Yes.    For this site there is a reasonable

  19   chemistry data set, yes.

  20   Q.      Did you consider all 19 years of data in doing

  21   your analysis?

  22   A.      I did, yes.

  23   Q.      Up through 2017, the time of your last report.

  24   Correct?

  25   A.      Correct.
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   1   Q.      All right.      And then in terms of the amount of

   2   documentation you used for this site, it's over 8,000

   3   documents.      Correct?

   4   A.      That is correct.

   5   Q.      Let's go to the next slide.

   6              It discusses the regional hydrogeology.                 Can

   7   you explain the setting to us, please, from a

   8   hydrogeological perspective .

   9   A.      Certainly, yes.       And I will try to keep it as

  10   simple and understandable for a layman as possible.

  11              Essentially, the site is located in an area

  12   where the initial deposits below the ground surface

  13   are again unconsolidated sediments.                 They are actual

  14   glacial deposits.        They contain both coarse grain

  15   units like sand and gravel, and also some finer units

  16   that contain some glacial silts and clay.

  17              Below that there is bedrock again, and, again,

  18   in this area the bedrock is essentially dipping, and

  19   here it's dipping to the south, and the bedrock is

  20   part of what's referred to as the Passaic Formation.

  21   It contains one of the main aquifers that's used for

  22   water supply in this part of New Jersey

  23   Q.      The next slide, please.

  24              You evaluated receptors.          Correct?

  25   A.      Yes.    As part of our assessment of the regional
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   1   background information we identified eight public

   2   water supply wells within one mile.                 Now, only two of

   3   those are within what was termed the court delineation

   4   area and the others were outside of that area.

   5              We also identified the nearest surface water

   6   bodies, including the pond and the brook about

   7   1500 feet to the south of the service station.

   8   Q.      Now, there were MTBE detections in some of those

   9   receptors.      Is that correct?

  10   A.      That's correct.

  11              The next slide actually shows some of the

  12   detections at the Ridgewood Andover Well, and there

  13   was one just one detection back in 1999, and there

  14   were also some detections at the additional well we

  15   identified.      Again, these were historical detections,

  16   and there have not been consistent detections

  17   particularly in recent years.

  18   Q.      Why a "non-detect" followed by a "detect," if

  19   you can briefly explain?

  20   A.      There are two issues one has to consider here.

  21              The first is, say, for example, at the

  22   Ridgewood Andover Well in 1999, the concentration that

  23   was detected in July of that year was .7 parts per

  24   billion.     It was very low.        In fact, it was even below

  25   the PQL.     So non-detect might be very close to that
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   1   concentration, but the lab just couldn't see it.

   2   Q.       Even if you have consistent detection in the

   3   well, when you look at the chemistry data, is it

   4   common to have variation in the concentration?

   5   A.       Yes.    In fact, one would expect that.           The

   6   sample is never identical each time you take a sample.

   7   The old adage is:        You never step in the same river

   8   twice.

   9   Q.       And the chronology for the site, please.                You

  10   reviewed the historical data and plotted it on a

  11   timeline.       Is that correct?

  12   A.       Yes.    You may recall in the standard methodology

  13   that we used, Step 3 was to review the site-specific

  14   data, and that included developing a very complete and

  15   lengthy summary of all of the activities at the site,

  16   and then we summarized the key elements on this

  17   timeline.

  18   Q.       The maximum concentration of the MTBE at the

  19   site was what and when?

  20   A.       The maximum concentration was 2,500,000 parts

  21   per billion.       That was detected, I believe, in 1999.

  22   Q.       In a monitoring well on the site property?

  23   A.       It was MW-5.

  24   Q.       Which is an abbreviation for monitoring well

  25   No. 5 associated with this station?
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   1   A.      That's correct.

   2   Q.      You also made a note in 2012 on this chronology

   3   that the latest maximum MTBE concentration at Kaplan

   4   Cleaners was 14,000 parts per billion, listing a

   5   monitoring well number.          Correct?

   6   A.      That is correct.

   7   Q.      And that's in 2012 at Kaplan Cleaners Monitoring

   8   Well 2-D.      And in your 2013 report did you discuss

   9   MTBE's occurrence in Kaplan Cleaners wells?

  10   A.      I did, yes.

  11   Q.      Now, a dry cleaners such as Kaplan Cleaners,

  12   MTBE is not something you would expect to be at their

  13   site from their activities.           Is that correct?

  14              MR. TULLY:     Objection; foundation.

  15              THE COURT:     It's basically a leading question.

  16   So why don't you just ask him the question.

  17              MR. TULLY:     It also calls for speculation.

  18              THE COURT:     I don't know that it does.           The

  19   real question is:        Do you get MTBEs from dry cleaners

  20   from what they do?

  21              MR. TULLY:     You do if they have underground

  22   storage tanks on premises.

  23              THE COURT:     Look, you're testifying for me

  24   now.    That's your cross-examination.              We're talking

  25   about from the general use of the dry cleaners.                    Feel
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   1   free to explore this on your questioning.               We will

   2   eventually get to that.

   3   BY MR. MILLER:

   4   Q.      Kaplan Cleaners had monitoring wells of their

   5   own for their site.         Correct?

   6   A.      That is correct, yes.

   7   Q.      What was their contaminant of concern or the

   8   reason they were doing this monitoring?

   9   A.      They were investigating a release of PCE, which

  10   is perchloroethylene, and it often goes just by the

  11   abbreviation PCE, and that is the solvent used in dry

  12   cleaning.

  13   Q.      Okay.     So is PCE commonly associated with dry

  14   cleaning sites that have had releases?

  15   A.      Yes.     It was historically used as the dry

  16   cleaning solvent in nearly all dry cleaning sites.

  17   Q.      And when they submitted samples that tested for

  18   PCE, is it uncommon to have MTBE results disclosed by

  19   the lab?

  20   A.      No.     Now that the labs include the ether

  21   oxygenates as part of the standard analytical package

  22   for volatile constituents, the lab reports not only

  23   the PCE but the concentration of the ether oxygenates,

  24   including MTBE, along with many other constituents.

  25   Q.      So when you reviewed a completely separate file
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   1   for Kaplan Cleaners, did you find some MTBE data that

   2   you used in your 2013 opinion?

   3   A.      Yes.    As part of the analysis of samples taken

   4   at the Kaplan Cleaners during their investigation,

   5   they had detected high concentrations of MTBE in the

   6   deeper samples that is within the lower intermediate

   7   zone in the bedrock.

   8   Q.      How did that relate to your 2013 opinions,

   9   briefly?

  10   A.      Essentially, we had identified that this site

  11   was directly down-gradient of the release at the Gulf

  12   station, and this site had detected high

  13   concentrations of MTBE in the groundwater,

  14   particularly deeper groundwater, that clearly were

  15   associated with the release at the Gulf station.

  16   Q.      Now, if you have a release at the Gulf station

  17   in millions of parts per billion, can that create a

  18   plume that is long and large?

  19   A.      It can, yes, long and large; and in this

  20   particular case, also, it dives and goes deep as it

  21   migrates to the south.

  22   Q.      And the concentration at the dry cleaners of

  23   more than 10,000 parts per billion, actually 14, in

  24   your mind and in your opinion, is that reasonably

  25   explained by migration of an MTBE plume from the gas
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   1   station we are talking about, Bakers Waldwick Gulf, to

   2   the Kaplan Cleaners site?

   3   A.      Yes, that is what's indicated.               It is associated

   4   with the release at the Gulf site.

   5   Q.      Since you were seeing it in 2013 in the tens of

   6   thousand of parts per billion, did you expect that if

   7   we went back there in 2017 it would all be gone?

   8   A.      No.

   9   Q.      Why is that?

  10   A.      Essentially, the concentrations obviously were

  11   very high for an off-site location.                 There was no

  12   active remediation going on for the groundwater in

  13   that area; therefore, one would have expected the

  14   concentrations to persist not only because they were

  15   there previously, but because they would be continuing

  16   to migrate in that direction from the Gulf site.

  17   Q.      And in forming that opinion, did you consider

  18   the nature of remediation activities at the Gulf

  19   station?

  20   A.      Yes.    There had been ongoing remediation at the

  21   property itself, the Gulf property.

  22   Q.      Could you describe that, briefly.

  23   A.      Yes.    They had been conducting some multiphase

  24   extraction and air sparging.           You may recall, I

  25   discussed those technologies earlier.                 Essentially,
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   1   they were bubbling air into the aquifer to oxygenate

   2   and strip out some of the contamination, and then they

   3   were doing multiphase extraction to suck out high

   4   levels of contamination in the vadose zone and

   5   dissolved in the groundwater directly beneath the

   6   site.

   7   Q.      And throughout the history of this site, up to

   8   your 2017 report, did they have any pump and treat

   9   system that was designed to prevent MTBE dissolved in

  10   groundwater from moving away from the site?

  11   A.      They did not.

  12   Q.      And in contrast, the Exxon Livingston station

  13   did have that.       Correct?

  14   A.      The Exxon station did have an on-site pump and

  15   treat system which they later expanded to even include

  16   pumping off-site.

  17   Q.      So, basically, given the nature of the

  18   remediation being done at this Gulf station, did you

  19   expect that distant contamination such as that at

  20   Kaplan Cleaners would continue to occur?

  21   A.      Yes, that's a fair statement.

  22   Q.      And was that concept expressed in your written

  23   reports in both 2013 and 2017?

  24   A.      Yes, it was.

  25   Q.      And when you were preparing your 2017 report,
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   1   were you able to get your hands on updated Kaplan

   2   Cleaners data?

   3   A.      Between the preparation of the 2013 report and

   4   the 2017 report, we had expected that additional

   5   samples had been taken at the Kaplan Cleaners site;

   6   therefore, we made a request through legal counsel if

   7   that information could be obtained.                 But as of the

   8   time of the preparation of my report in 2017, we have

   9   not received that data.

  10   Q.      Now, if we look at the groundwater contamination

  11   data, if we can turn to that slide, please -- I'm

  12   sorry, groundwater flow.          I inadvertently skipped one.

  13              This is concepts that you had about how

  14   groundwater was moving with MTBE in it that were

  15   expressed in your opinions.           Is that correct?        Your

  16   reports.

  17   A.      Yes.    Here we're summarizing the groundwater

  18   conditions at and to the south of the Gulf site.

  19   Q.      And did the flow directions that you describe

  20   here include movement of a plume of MTBE toward the

  21   Kaplan Cleaners site?

  22   A.      Yes.    In general, it's moving to the south.

  23   Q.      And you have expressed the opinion that both in

  24   bedrock and in the unconsolidated material it's moving

  25   at times to the south and then other times to the
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   1   southwest; this is the natural variation in flow

   2   direction.      Is that correct?

   3   A.      In the shallow zone.         In the intermediate zone,

   4   it varies south-southwest to south-southeast; and in

   5   the bedrock, generally, it's south-southeast.

   6              Perhaps if we go to the previous slide, it

   7   annotates here that cross-section that shows those

   8   different zones.

   9   Q.      And is that opinion about the direction of the

  10   groundwater flow based on hydrogeological data,

  11   namely, measurements of water levels in wells?

  12   A.      That is correct.

  13   Q.      Let's turn to the groundwater contamination

  14   summary.

  15              The first detection at the site was 81,000

  16   parts per billion, but the concentration went up

  17   two years later to 2,500,000 parts per billion.                    Why

  18   would it go up during that period of time?

  19   A.      Well, actually, those were samples taken at two

  20   different wells.        When it was first detected at the

  21   site, they had drilled four wells.             So the first

  22   detection was in MW-1, Monitoring Well 1.

  23              Subsequently, they installed some additional

  24   monitoring wells.        And when they sampled MW-5 a couple

  25   of years later, that was the well that was closest to
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   1   the point of the release, and had the maximum

   2   concentrations.

   3   Q.      Is that the apparent explanation for the change?

   4   A.      Yes.    It's simply the location of the well.

   5   Q.      I want to go to the remediation plan.

   6              Before I get there, with respect to the

   7   feasibility study for Bakers Gulf, did you follow the

   8   same procedures you described earlier?

   9   A.      Yes.    It was the exact same analysis.            We did a

  10   feasibility analysis or feasibility study that applied

  11   for all of the sites, and then we specifically

  12   selected the technologies that were appropriate for

  13   each individual site, and the feasibility study was

  14   contained within my expert report along with the

  15   site-specific selection of technologies.

  16   Q.      The next slide, please.

  17              This is your site restoration plan.             It

  18   involves a recommendation for 11 monitoring well

  19   clusters and one off-site pump and treat system and

  20   monitored natural attenuation for five years after

  21   pump and treat.       Is that correct?

  22   A.      That is correct, yes.

  23   Q.      One of the reasons you are recommending a pump

  24   and treat system is to date none has ever been done at

  25   this site.      Is that correct?
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   1   A.      There had been no pump and treat and there had

   2   been no off-site remediation to address the high

   3   levels of contaminant present to the south of the Gulf

   4   site.

   5   Q.      And that's the reason you recommended the pump

   6   and treat system?

   7   A.      Yes, along with other factors.              We obviously

   8   considered the hydrogeologic conditions that would

   9   make pump and treat the most appropriate technology.

  10   Q.      Now, does the Bakers Waldwick Gulf site have as

  11   extensive an off-site monitoring network as the Exxon

  12   station?

  13   A.      I would not say it's as extensive.              They do have

  14   a significant number of wells, especially when you

  15   consider the wells that were installed as part of the

  16   Kaplan Cleaners investigation.            However, there's still

  17   significant data gaps in terms of identifying where

  18   the contamination is present to the south of the site.

  19   Q.      And is that the reason you recommended the

  20   higher level or number of monitoring well clusters?

  21   A.      That's correct.

  22   Q.      You recommended monitored natural attenuation

  23   for five years after pump and treat.                Why not during

  24   pump and treat?

  25   A.      Actually, the monitoring does go on while the
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   1   pump and treat is taking place.            So the monitoring is

   2   done on a quarterly or in some cases semi-annual basis

   3   from the time the wells are first installed.

   4              So what we are recommending here is that

   5   monitoring should continue for five years after the

   6   pump and treat system stops operation.

   7   Q.       Basically, after you get down to concentrations

   8   70 parts per billion or lower.            Correct?

   9   A.       For MTBE, that's correct, yes.

  10   Q.       Then you have a site restoration cost estimate,

  11   the next one, and you used the same techniques for

  12   developing the restoration costs and recommendations

  13   for this site, as you described earlier.               Is that

  14   correct?

  15   A.       Yes, the same approach we took to all of the

  16   sites.

  17   Q.       Now, let's go to the Kaplan data.

  18              MR. TULLY:     Your Honor, just so that you can

  19   follow along, this is now the data that was in the

  20   plaintiffs' possession but not considered at the time

  21   of the 2017 report.

  22              THE COURT:     Thank you.

  23   BY MR. MILLER:

  24   Q.       The Kaplan data involves eight monitoring wells.

  25   Is that correct?
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                                                                          124

   1   A.      There are eight monitoring wells at the site,

   2   that is correct.

   3   Q.      And when you did your 2013 report, you had data

   4   from that set of monitoring wells that included MTBE

   5   detections.      Is that correct?

   6   A.      That is correct.        We had data collected prior to

   7   the preparation of my expert report.

   8   Q.      Now, had anything changed between 2013 when you

   9   did your original report and 2017 when you did your

  10   supplemental report that would cause the natural

  11   behavior of MTBE in groundwater to change, in your

  12   opinion?

  13   A.      Not that I could think of, no, other than the

  14   continued migration.

  15   Q.      So given the nature of MTBE, you expected it to

  16   continue to go into groundwater in the service station

  17   area.     Correct?

  18   A.      Actually, if you look at the on-site remediation

  19   that was done at the Gulf site, they had actually

  20   removed most of the contamination beneath the Gulf

  21   site.     So the concentrations on the site had been

  22   declining significantly during the period they

  23   implemented the on-site remediation program.

  24   Q.      Okay.

  25   A.      So we were not looking really at a situation
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                                                                          125

   1   where there was significant new contamination being

   2   added to the groundwater.          So we had a finite

   3   concentration or massive contamination that now was

   4   simply migrating further to the south.

   5   Q.      And the groundwater was going to continue to

   6   move unimpeded away from the site and toward the

   7   Kaplan Cleaners, in your opinion?

   8   A.      And beyond the Kaplan Cleaners.

   9   Q.      And that was your opinion in 2013?

  10   A.      It was, yes.

  11   Q.      And 2017?

  12   A.      Correct.

  13   Q.      Now, if you compared all the data associated

  14   with the Kaplan Cleaners site to all the data you had

  15   for the overall MTBE picture for the Gulf station,

  16   could you describe the relative contribution of those

  17   data points for me?

  18   A.      If I understand the question correctly, if we

  19   just took the wells that are being installed by Gulf,

  20   which is approximately 32 wells, and they had

  21   monitoring data for 19 years collected multiple times

  22   a year for all of those locations, we had a very

  23   significant data set.

  24              For Kaplan Cleaners they installed eight

  25   wells, and I believe at the 2013 timeframe, the wells
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                                                                             126

   1   had only been sampled once or twice.                So a much more

   2   limited data set for the Kaplan Cleaners than we had

   3   for the wells being installed by Gulf.

   4   Q.      So they weren't sampling the wells as

   5   frequently.      Is that correct?

   6   A.      That's correct.

   7   Q.      Do you have any understanding why that was?

   8   A.      I can't say for certain, but I believe the

   9   Kaplan Cleaners was essentially an orphan site.                    That

  10   means there was no responsible party who was

  11   implementing the investigation remediation program and

  12   therefore was relying on public funds to implement the

  13   program.

  14   Q.      Have you looked at the Kaplan Cleaners data

  15   since 2013 as part of your response to this motion?

  16   A.      Yes.    You may recall earlier I mentioned that we

  17   had assumed there may be some new samples that had

  18   been collected at the Kaplan Cleaners between 2012,

  19   which is when we had a data set to prepare the report,

  20   and 2017 when my updated report was prepared.

  21              We made a request through legal counsel if

  22   there was any data, but at the time of the preparation

  23   of the 2017 report we had not received that data, but

  24   we did receive it subsequent to the preparation of the

  25   2017 report.
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                                                                               127

   1   Q.      And did they find MTBE at lower concentrations

   2   later in time?

   3   A.      At Kaplan Cleaners?

   4   Q.      Yes.

   5   A.      No.    The concentrations were very similar.               In

   6   fact, slightly higher.

   7   Q.      So the conditions were essentially unchanged in

   8   terms of the concentration.           Correct?

   9   A.      Yes.    The new samples essentially confirmed the

  10   earlier results.

  11   Q.      And did it provide any new information that you

  12   didn't have before?

  13   A.      It provided new data.         But that data simply

  14   confirmed the previous data I had that supported the

  15   opinions that I presented.

  16   Q.      Did you form any new opinions because of getting

  17   the additional Kaplan's data after 2013?

  18   A.      No.

  19   Q.      Are your opinions the same today after reviewing

  20   it?

  21   A.      Yes.

  22   Q.      Would it change the estimate of the cost of

  23   dealing with it at all, the contamination?

  24   A.      It has not, no.

  25              MR. MILLER:      That's all the questions I have
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                                                                          128

   1   at this time, your Honor.          I was trying to finish at

   2   2:00, and I missed.

   3              THE COURT:     I think you're close enough.

   4              Livingston is going to go first.

   5              MR. LENDER:      Yes, your Honor.       Would it be

   6   okay if I just take a five-minute break.

   7              THE COURT:     Okay.

   8              THE DEPUTY CLERK:       All rise.

   9              (Recess.)

  10                            * * * * *

  11              (In open court.)

  12              THE DEPUTY CLERK:       All rise.

  13              THE COURT:     Thank you.

  14              You may proceed.

  15   CROSS-EXAMINATION

  16   BY MR. LENDER:

  17   Q.      Mr. Brown, you filed your initial expert report

  18   concerning the Livingston site back in November of

  19   2012 and a revised report in January of 2013.                Is that

  20   correct?

  21   A.      That is correct.

  22   Q.      And then     you issued your most recent report in

  23   August of 2017.        Right?

  24   A.      That is correct.

  25   Q.      During that more than four-year period between
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   1   your original report and your most recent report, the

   2   Livingston site has continued to be cleaned up under

   3   the direction of the LSRP.           Correct?

   4   A.      That's my understanding.

   5   Q.      And just so we have it, that's a new term we

   6   used for the first time.          An LSRP is a licensed site

   7   remediation professional who is licensed by the State

   8   under the supervision of the Department of

   9   Environmental Protection and is responsible for

  10   cleaning up sites in New Jersey.             Correct?

  11              MR. KAUFMANN:      Your Honor, that's a legal

  12   issue and that's an incorrect description of what an

  13   "LSRP" is.      An LSRP is licensed by the State and --

  14              THE COURT:     I prefer that you not testify.           So

  15   if you think it's not accurate, you can rephrase it;

  16   or if you know the answer and you would like to

  17   correct it, feel free.

  18              What is an "LSRP," as you understand it?

  19              THE WITNESS:      An LSRP is a licensed

  20   professional within the State of New Jersey.                It's

  21   hired by the responsible party to direct the

  22   investigation and remediation program at a release

  23   site.

  24   BY MR. LENDER:

  25   Q.      And the LSRP, as you understand, essentially
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   1   steps into the shoes of the DEP.             Correct?

   2   A.      I wouldn't use that phrase.           They essentially

   3   take over the oversight.           They submit their reports to

   4   the DEP and the DEP on occasion might audit the

   5   report.

   6   Q.      During the period of time between your original

   7   report and your most recent report, you understand

   8   additional monitoring wells have been installed at the

   9   Livingston site.        Correct?

  10   A.      That's correct.

  11   Q.      And you also explained during your direct

  12   testimony that natural attenuation will be relied upon

  13   to further clean up the Livingston site.                Correct?

  14   A.      Yes.    That would be one of the approaches to

  15   address the contamination at this site.

  16   Q.      Natural attenuation is the process where through

  17   biodegradation, dilution and other natural processes

  18   contamination gets further reduced.                Correct?

  19   A.      Yes.    Either the contaminant penetrations are

  20   essentially diluted or in some areas the

  21   concentrations are actually declining as a result of

  22   degradation.

  23   Q.      And natural attenuation can occur whether you

  24   are monitoring the natural attenuation or not.

  25   Correct?
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                                                                           131

   1   A.       Yes.   Natural attenuation processes are natural

   2   processes.      However, one only knows if they are

   3   occurring if you actually monitor.

   4   Q.       To be clear, it's the natural attenuation, not

   5   the monitoring that further cleans up the contaminated

   6   sites.     Right?

   7   A.       The processes that actually result in the

   8   declining concentration are the natural attenuation

   9   processes.

  10   Q.       So whether we add more monitoring wells or fewer

  11   monitoring wells, natural attenuation still occurs and

  12   occurs at the exact same rate.            Correct?

  13   A.       The processes are still ongoing.            We just need

  14   to confirm they are ongoing and at what rate.

  15   Q.       That's right.      It's the natural attenuation, not

  16   the monitoring.       Correct?

  17   A.       The monitoring is confirming it.

  18   Q.       So adding more monitoring wells will not clean

  19   up the Livingston site any faster.             Correct?

  20   A.       It will not change the rate.          It will allow us

  21   to more effectively monitor that the processes are in

  22   fact occurring and occurring appropriately.

  23   Q.       And adding more monitoring wells, as you have

  24   proposed, will not get the Livingston site to

  25   pre-discharge conditions any faster, and if we don't
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                                                                          132

   1   add those monitoring wells.           Correct?

   2   A.      No.    We'll simply understand from the wells

   3   whether it is actually occurring in the expected way.

   4   Q.      Now, all of the additional investigation and

   5   remediation activities that have occurred at the

   6   Livingston site since you issued your initial report

   7   in 2012 has resulted in significant changes to many of

   8   the opinions presented by you in your original report.

   9   Correct?

  10   A.      That's correct.        Quite a few of the opinions I

  11   presented in 2013 had to be changed in response to the

  12   work performed by ExxonMobil.

  13   Q.      And as a result, certain things you proposed in

  14   your initial report are now no longer necessary in

  15   your opinion.       Correct?

  16   A.      Either they are no longer necessary or they are

  17   being implemented by ExxonMobil.

  18   Q.      For example, in your original report you had

  19   recommended that active remediation be expanded to the

  20   northwest of the Livingston site.             Correct?

  21   A.      That is correct.        We had recommended a system

  22   that was just on the west side of Livingston Avenue

  23   where historically higher concentrations of MTBE had

  24   been detected just on the east side of Livingston

  25   Avenue.
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                                                                          133

   1   Q.      And now you no longer believe that is justified

   2   based on the conditions at the Livingston site.

   3   Correct?

   4   A.      That's correct.       The subsequent investigation

   5   performed by ExxonMobil in that area just west of

   6   Livingston Avenue indicated that the concentrations

   7   were much lower than expected; therefore, active

   8   remediation would not be needed.

   9   Q.      So you are no longer seeking any costs for that

  10   off-site remediation system.           Correct?

  11   A.      That is correct.

  12   Q.      Now, work has continued to be done to clean up

  13   MTBE in connection with the Livingston site even since

  14   you issued your report in August of 2017.               Correct?

  15   A.      That would be my expectation, yes.

  16   Q.      And you understand and concede that the dynamic

  17   nature of the contamination plume and remediation

  18   activities at the Exxon Livingston site means that

  19   circumstances at the site are in constant flux.

  20   Correct?

  21   A.      Yes.    That's true for any site.          Obviously,

  22   there are changing ongoing at any particular release

  23   site with respect to the migration of the

  24   contamination and obviously in relation to any actual

  25   remediation that's ongoing.
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                                                                               134

   1   Q.      So that means assuming you are allowed to

   2   testify that the additional steps you have proposed in

   3   your August 2017 report might no longer be necessary

   4   by the time you testify at trial.              Right?

   5   A.      I could not say whether they would or not.                 It

   6   would depend on data that has been collected

   7   subsequent to the preparation of my 2017 report.

   8   Although I would expect the majority of the

   9   recommendations would still likely be needed.

  10   Q.      And whatever you might say at a trial, for

  11   example, might no longer be necessary by the time any

  12   appeals run.       Correct?

  13   A.      It would depend upon site conditions.              We don't

  14   know at this time what the data might reveal in the

  15   future.

  16   Q.      For example, it's possible that the LSRP could

  17   decide to do some of the things you are recommending

  18   in your report.         Right?

  19   A.      That is correct.          Just as some of the things I

  20   recommended in 2013 were actually implemented.

  21   Q.      And if that happens, ExxonMobil will be required

  22   to pay for that work.            Right?

  23   A.      That would be my understanding, yes.

  24   Q.      And if that happens, it could moot some of your

  25   opinions.      Right?
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                                                                          135

   1   A.      Potentially.      I would have to speculate whether

   2   it would or not.

   3   Q.      In fact, you agree that for a finder of fact to

   4   reach accurate conclusions, it needs to be based on

   5   the most current conditions at the site.               Right?

   6   A.      In an ideal situation, yes.           Unfortunately, most

   7   of the cases I'm involved in, there is essentially a

   8   cut-off or else you will be forever updating your

   9   report over and over again every time a new piece of

  10   data was created.        And every time you have a report,

  11   then you would have depositions.             And by the time you

  12   go to trial, there would be more data.              So it would

  13   just run forever.        So usually there is a deadline or a

  14   cut-off date imposed.

  15   Q.      Well, let's look at some of your specific

  16   opinions and see where we go with that.

  17              It's your opinion that ExxonMobil should

  18   install additional monitoring wells to assist in the

  19   delineation of MTBE and to further evaluate whether

  20   additional remediation might be required with respect

  21   to Livingston.       Correct?

  22   A.      Yes, that's correct.

  23   Q.      And you are seeking $860,000 for the design and

  24   installation of 21 additional wells for that purpose.

  25   Correct?
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                                                                          136

   1   A.      Correct, at six discrete cluster locations.

   2   Q.      And the reason why you believe these additional

   3   monitoring wells should be installed is to further

   4   characterize and delineate the extent of the

   5   contamination.       Correct?

   6   A.      Yes.

   7   Q.      Now, you understand that remediation falls

   8   within the province of the DEP under its LSRP program.

   9   Correct?

  10   A.      Yes, that's my understanding.

  11   Q.      And part of remediation is delineating the

  12   extent of the contamination.           Correct?

  13   A.      Yes.    In certain types of projects they refer to

  14   that as the "remedial investigation" because they're

  15   the components of the overall remedial program.

  16   Q.      In fact, adequately delineating a site falls

  17   directly within the province of the LSRP.               Correct?

  18   A.      My understanding is they would be adequately

  19   delineating, but to the groundwater quality standards.

  20   Q.      And you understand ExxonMobil is not going to be

  21   allowed to finish its work at Livingston unless and

  22   until the LSRP decides that the site is adequately

  23   delineated.      Correct?

  24   A.      Could you read the question back to me?

  25   Q.      You understand that ExxonMobil is not going to
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                                                                          137

   1   be allowed to finish its work at the Livingston site

   2   unless and until the LSRP decides that the site is

   3   adequately delineated.          Correct?

   4   A.       That's my understanding of what the LSRP would

   5   be required to do.

   6   Q.       And ExxonMobil is not going to be allowed to

   7   finish its work at Livingston until it completes all

   8   of the required remediation work as directed by the

   9   LSRP.     Correct?

  10   A.       The remediation work, yes, would be directed by

  11   the LSRP.

  12   Q.       So if the LSRP believes that 21 additional wells

  13   are necessary to fully delineate the site, it will

  14   require that work be done and ExxonMobil will pay for

  15   it.     Correct?

  16   A.       That would be my assumption, that they would

  17   direct the work to be performed and Exxon would pay

  18   for it.

  19   Q.       Of course, if the LSRP disagrees with your

  20   assessment, the work presumably will not be directed

  21   to be done at the Livingston site.             Correct?

  22   A.       Unless Exxon elected to voluntarily do that

  23   work.

  24   Q.       And, of course, another option is your client,

  25   the DEP, could disagree with the LSRP's assessment and
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   1   they could require the work to be done.               Correct?

   2   A.      I believe they have that authority, yes.

   3   Q.      So if the DEP, your client, believes 21

   4   additional wells need to be installed to fully

   5   delineate the site, it could direct the LSRP to do

   6   that work?

   7              MR. KAUFMANN:       Objection, your Honor.        Now, he

   8   is asking questions about DEP policy, and I don't

   9   believe that that is the field of Mr. Brown's

  10   expertise.

  11              THE COURT:     It may not be, but he's asking his

  12   understanding because he's come up with the cost

  13   estimates of what has to be done and compared remedial

  14   issues versus the restoration.

  15              So, if you know.

  16              And I think he's been answering in the way

  17   that he thinks he understands.

  18              MR. LENDER:      Thank you.

  19   BY MR. LENDER:

  20   Q.      If the DEP believes that 21 additional wells

  21   need to be installed to fully delineate the site, it

  22   is your understanding that it can direct the LSRP to

  23   do that work.       Correct?

  24   A.      I would say I do not understand the full legal

  25   authority they have.         My understanding would be that
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                                                                          139

   1   the oversight agency normally would have some

   2   authority to demand such work if they felt it

   3   necessary.

   4   Q.      There is an entire regulatory framework for

   5   reviewing sites and determining whether it's

   6   adequately delineated and whether additional

   7   monitoring wells need to be installed.              Correct?

   8   A.      There is, and we have been discussing

   9   essentially the program within the LSRP.

  10   Q.      And, to your knowledge, to date, your client,

  11   the DEP, has never directed that these additional

  12   wells be installed.         Correct?

  13   A.      I'm not aware of any such direction.

  14   Q.      And you have never spoken to the LSRP about the

  15   work you think should be done.            Right?

  16   A.      I have not.

  17   Q.      Now, Mr. Brown, you are aware in March of 2019,

  18   so just two months from now, the LSRP overseeing the

  19   Livingston site is required to file its remediation

  20   investigation report?

  21   A.      I wasn't aware of that.

  22              MR. LENDER:      Your Honor, if I could just mark

  23   just so we can get the timing down as Defendant's

  24   Exhibit 1, a document from Kleinfelder, Bates Range

  25   XOM-NJDEP-REM-31310-1073785.
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   1              (Defendant's Exhibit 1 was marked for

   2   identification.)

   3   BY MR. LENDER:

   4   Q.      Now, Mr. Brown, Exhibit 1 is a document from

   5   Kleinfelder regarding the Livingston site.                You can

   6   see that on the first page.

   7              If you turn to the third page, do you see

   8   where it says that the initial remedial investigation

   9   report was due in March 1, 2017, and that the revised

  10   date it's now due March 1st, 2019?

  11   A.      I see that, yes.

  12   Q.      Thank you.

  13              Now, you understand that the remediation

  14   investigation report is a report that the LSRP is

  15   required to submit to the DEP as part of the State's

  16   regulatory framework.         Correct?

  17   A.      That's my understanding.

  18   Q.      And that report will need to set forth the

  19   delineation for the site.          Correct?

  20   A.      It will need to discuss the nature and extent of

  21   the contamination.        It may not address complete

  22   delineation, but it would need to at least comment on

  23   the extent.

  24   Q.      The report needs to include a detailed

  25   description including the dimensions, contamination,
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   1   and suspected sources of the contamination.                Correct?

   2   A.      That's my understanding.

   3   Q.      And the report will also propose a

   4   classification exception area or a CEA.               Correct?

   5   A.      I cannot state for certain.           I believe that's my

   6   understanding.

   7   Q.      You know what a CEA is.          Right?    You mentioned

   8   earlier that you've reviewed the regulations?

   9   A.      Yes.

  10   Q.      And the CEA sets forth the outerbounds of the

  11   plume where all chemicals of concern are below the

  12   water quality standards.          Correct?

  13   A.      That is the intent.        It's intended to identify

  14   an area of the groundwater where concentrations within

  15   that area are above the groundwater quality standard.

  16   Q.      And the CEA also identifies the locations and

  17   identifications of wells and/or sampling points,

  18   including those that represent the farthest

  19   down-gradient extent of the groundwater contamination.

  20   Correct?

  21   A.      That's the intent behind the CEA with respect to

  22   the groundwater quality water standard, not a

  23   pre-discharge standard.

  24   Q.      Now, are you aware of whether the LSRP is going

  25   to require that additional monitoring wells be
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   1   installed as part of the remediation investigation

   2   report?

   3   A.       I can't say for certain.         But I do recall some

   4   discussion about ExxonMobil planning to do some

   5   additional wells after my 2017 report.

   6   Q.       Okay.   And if more monitoring wells are

   7   installed, you would need to revisit your opinions.

   8   Right?

   9   A.       That would be true of any investigation.              I

  10   would need to consider that to see if the new data

  11   affected my opinions in any way.             So, for example, if

  12   a new monitoring well was installed and they found

  13   very high concentrations of MTBE because they

  14   intercepted a fracture that contained the

  15   contamination, that obviously would have an impact on

  16   my opinions.

  17   Q.       And you would also agree ExxonMobil should not

  18   have to pay to do the same work twice.              Right?

  19   A.       I think that's a reasonable position to take.

  20   Q.       Okay.   Now, when the remediation investigation

  21   report is provided to your client just two months from

  22   now, they presumably will read it.             Right?

  23   A.       I cannot speak for my client.

  24   Q.       And if the DEP believes that the Livingston site

  25   is not fully delineated or believes that additional
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   1   monitoring wells need to be installed, it can reject

   2   the report or require that they be installed.

   3   Correct?

   4   A.       Well, I cannot say for certain.            That would be

   5   my understanding of part of their authority.

   6   Q.       Thank you.

   7              Now, in terms of your proposed 21 additional

   8   wells, you are proposing individual casings for those

   9   wells.     Is that correct?

  10   A.       That is correct.       They would be cluster wells.

  11   Q.       Meaning that for each well you are proposing to

  12   drill a new well.        Right?

  13   A.       That is correct.

  14   Q.       So just for an example, for one of the places

  15   where maybe you said that there should be five

  16   additional depths, your opinion would require the LSRP

  17   to drill five separate holes.            Correct?

  18   A.       That's correct.

  19   Q.       And you understand that right now at the

  20   Livingston site they are actually using the FLUTe

  21   system.     Right?

  22   A.       I didn't know whether they are using it right

  23   now.     I understand for the wells installed immediately

  24   prior to my 2017 report, they've used the FLUTe

  25   system.
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   1   Q.      And the FLUTe system, I think you mentioned, but

   2   let's be clear, it allows you to drill one bore hole

   3   but then have multiple sample locations.               Correct?

   4   A.      That's correct.       You drill a large diameter hole

   5   and you insert a very complex well construction that

   6   allows for depth specific samples to be taken.

   7   Q.      Now, during your direct examination you

   8   suggested the reason why you didn't recommend using

   9   the FLUTe was because of some concerns you had about

  10   the FLUTe system.        Do you remember that testimony?

  11   A.      I wouldn't say I was concerned specifically

  12   about the FLUTe system.          I have some concerns based on

  13   my experience with other similar approaches to doing

  14   multiple sample locations within a single bore hole.

  15   Q.      Well, to be clear, no one at your company has

  16   actually ever installed and used the FLUTe technology

  17   in a site investigation that you've conducted.

  18   Correct?

  19   A.      That's correct.

  20   Q.      And you have no experience installing a

  21   multi-level system like the Westbay system you

  22   mentioned in bedrock.         Correct?

  23   A.      No.    My experience of multi-level sampling in

  24   bedrock has always been using cluster wells.

  25   Q.      Not the FLUTe wells that we have been talking
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   1   about?

   2   A.       Correct.

   3   Q.       And the truth is, the reason why you recommended

   4   installing 21 individual casings in your revised

   5   report rather than a FLUTe system was because you had

   6   recommended individual casings previously.                Right?

   7   A.       Partly.    We had recommended them previously, and

   8   that's how ExxonMobil had initially investigated the

   9   contamination.

  10   Q.       And that's why you recommended doing it again,

  11   because that's what you had recommended before.

  12   Right?

  13   A.       That's only part of it.         I think the existing

  14   investigation performed by ExxonMobil, but also my

  15   experience doing similar investigations at numerous

  16   sites.

  17   Q.       Now, using the FLUTe system is absolutely an

  18   alternative to installing the individual casings.

  19   Correct?

  20   A.       Yes.

  21   Q.       And there is no question that a FLUTe system is

  22   an appropriate technology.           Correct?

  23   A.       Yes, I think it is an appropriate technology.

  24   Q.       You also concede that a FLUTe system would be

  25   less expensive.       Right?
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   1   A.      While I do not have the exact numbers, I don't

   2   anticipate anticipate that even though you are

   3   drilling a larger bore hole and you have multiple

   4   complex completions, it would still be somewhat

   5   cheaper than individual holes.

   6   Q.      Mr. Brown, you did nothing to cost out the FLUTe

   7   system or how much less expensive it would be than

   8   installing 21 individual casings.             Correct?

   9   A.      I did not.

  10   Q.      In fact, you have never once costed out a FLUTe

  11   system in bedrock.        Right?

  12   A.      That's correct.

  13   Q.      And you also did no analysis to determine

  14   whether you could even install additional individual

  15   casings at the locations you have identified.                Right?

  16              THE COURT:     I think you want to put that in

  17   context as to what you mean by whether he could.                   Do

  18   you mean geographically, geologically, or ownership or

  19   otherwise?

  20              MR. LENDER:      Fair enough, your Honor.

  21              THE COURT:     While you are looking for that --

  22              When did the site go to the FLUTe system?

  23              MR. LENDER:      As far as I know, all of the ones

  24   that are west of the site are all FLUTes.                I don't

  25   know the exact date.         I can find out.
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   1              THE COURT:     That's okay.       But obviously that

   2   was something that was determined by the LSRP and

   3   approved by the DEP?

   4              MR. LENDER:      Yes, or wasn't objected to by the

   5   DEP.

   6              THE COURT:     Or not objected to.

   7              MR. LENDER:      Not that I'm aware of.

   8              THE COURT:     I'm hearing them shake their heads

   9   "no," but I don't know what that means.

  10              MR. KAUFMANN:      Either out of ignorance or I

  11   don't know what, there is a misrepresentation of what

  12   the LSRP program does.          The DEP,your Honor --

  13              THE COURT:     Well, I don't want to get into

  14   this now.      I'll take it at the end of the hearing if

  15   you want.

  16              But I think I need to have some additional

  17   information about this because it's now been made

  18   clear that the FLUTe system is being utilized off-site

  19   to the western part, that it's being done under the

  20   auspices of the LSRP, which is under in some manner

  21   the supervision of the DEP.

  22              MR. LENDER:      Yes.

  23              THE COURT:     Well, I see them shaking their

  24   head "no," but I doubt the LSRP is acting without any

  25   authority.
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   1              So I can have that legal discussion with you,

   2   but it is one that I think is necessary to some of my

   3   consideration.

   4              Okay.    Let's move on to your questions.

   5   BY MR. LENDER:

   6   Q.      Mr. Brown, you did no analysis to determine

   7   whether or not there were any access issues with

   8   regard to drilling wells.          Correct?

   9              THE COURT:     In a location that he has

  10   identified?

  11              MR. LENDER:      Yes.

  12   A.      Actually, we've cited five of the proposed six

  13   locations on properties where ExxonMobil had already

  14   obtained access to drill existing locations.                Only one

  15   of the locations would be on a new piece of property,

  16   and it may actually be in a public right of way.                   But

  17   the other locations were all on properties where

  18   ExxonMobil has already obtained assess.

  19   Q.      So let's talk about the one where there are no

  20   wells right now.

  21              You did no detailed analysis to access whether

  22   there would be any access issues.             Correct?

  23   A.      I believe that's why we cited it in the public

  24   right of way.

  25   Q.      And further in places where there are FLUTe
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   1   wells already, there you did no detailed analysis

   2   either; you just assumed that because there is a well

   3   there now, you could drill four or five more.                Right?

   4   A.      I assumed ExxonMobil had already obtained access

   5   to drill the existing location; therefore, drilling

   6   adjacent to it they would be able to obtain that

   7   access also.

   8   Q.      That's an assumption that you made, not a

   9   detailed analysis you did.           Correct?

  10   A.      I would say that's an assumption I made, and it

  11   would appear reasonable.

  12   Q.      Okay.

  13              MR. LENDER:      Now, if I could I would like to

  14   mark -- this was a figure put up on the screen, but

  15   it's easier to have a copy of it.

  16              So I'm going to mark as Defendant's Exhibit 2

  17   a copy of Figure 2 from his report.

  18              (Defendant's Exhibit 2 was marked for

  19   identification.)

  20              THE COURT:     Where is that from?

  21              MR. LENDER:      This is Figure 2 from his 2017

  22   report, and I believe it was also put in his

  23   PowerPoint.

  24              THE COURT:     Okay.

  25   ///
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   1   BY MR. LENDER:

   2   Q.      Now, Mr. Brown, you are familiar with Figure 2

   3   that I just placed before you?

   4   A.      I am.

   5   Q.      This is a figure that comes from your recent

   6   August 2017 report?

   7   A.      That is correct.

   8   Q.      And this is a map that shows the locations of

   9   where you are proposing that additional monitoring

  10   wells be installed.         Correct?

  11   A.      That's correct.

  12   Q.      And as you mentioned in most of the instances

  13   you are proposing that additional monitoring wells be

  14   installed at or near the locations where FLUTe

  15   monitoring wells already exist.            Correct?

  16   A.      Some are located adjacent to FLUTe wells and

  17   some are located adjacent to existing cluster wells.

  18   Q.      Thank you.      That's helpful.

  19              And for the FLUTe wells that have been

  20   installed, you understand that the LSRP decided on the

  21   depths for the sampling.          Correct?

  22   A.      My understanding would be, yes, that a

  23   consultant working on behalf of ExxonMobil selected

  24   those depths.

  25   Q.      And you are now proposing that additional wells
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   1   be installed at different depths than the LSRP has

   2   concluded.      Right?

   3   A.      In some cases, yes.         In others, it is different

   4   locations than where the current FLUTe well is, or it

   5   would be for different depths where there are existing

   6   cluster wells.       But those cluster wells only monitor

   7   two or three different layers in the subsurface.

   8   Q.      The LSRP made the judgment to decide that the

   9   monitoring should be at a certain depth, and now you

  10   are here saying you disagree and they should be

  11   monitored at a different depth?

  12   A.      I wouldn't say "disagree."           I evaluated their

  13   data and identified that there are other layers that

  14   need to be monitored at one of the FLUTe well

  15   locations.      FLUTe well location 20-D4, I believe there

  16   is a need to collect samples from bedrock layers above

  17   where the FLUTe well currently collects samples.

  18   Q.      We're going to get to 20-D4 in one minute.                 I

  19   promise you.

  20              But you understand, of course, if the LSRP

  21   ultimately agrees with you, that these additional

  22   depths are needed to fully delineate the site, it can

  23   require that those monitoring wells be installed and

  24   make ExxonMobil pay for it.            Right?

  25   A.      I believe that's the question you posed earlier
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   1   and I answered yes.

   2   Q.      Okay.    Let me ask you to take a look at

   3   Exhibit 3, which is Figure 5-B from your expert

   4   report, and I believe Mr. Miller also put this up in

   5   his presentation.

   6              I'll ask you to take a look at it.

   7              (Defendant's Exhibit 3 was marked for

   8   identification.)

   9   BY MR. LENDER:

  10   Q.      Now, Mr. Brown, Figure 5B also comes from your

  11   latest August 2017 report.           Correct?

  12   A.      Yes, it does.

  13   Q.      And Figure 5B shows the depths that are

  14   currently being monitored for each of the monitoring

  15   wells that are currently installed at the Livingston

  16   site.     Correct?

  17   A.      That is correct.

  18   Q.      And if we look at 19-D4 as an example, the LSRP

  19   has installed a FLUTe system --

  20              THE COURT:     Show me where that is.          Honestly,

  21   this print is so small.          It's difficult for me.

  22              MR. LENDER:      19-D4 is the most northern site

  23   on Livingston Avenue.         So this one.

  24              THE COURT:     I see it.

  25   Q.      For Monitoring Well 19-D4, the LSRP has
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   1   installed a FLUTe system where MTBE is being sampled

   2   at six different depths.          Correct?

   3   A.      That is correct.        There are six sample ports

   4   located within bedrock Zone C and D.

   5   Q.      Now, if we go back to Exhibit 2, from your

   6   August if 2017 report, you are proposing that five

   7   additional wells be installed slightly north of 19-D4.

   8   Correct?

   9   A.      Correct.

  10   Q.      And that's what you refer to as and AQ1.

  11   Correct?

  12   A.      Yes.    That location, AQ1, is the cluster

  13   location that would have five new monitoring depths,

  14   four of which would be above the depth sample at

  15   19-D4, and one would be below.

  16   Q.      And you included the costs of installing these

  17   five additional monitoring wells in your cost

  18   assessment.      Correct?

  19   A.      Correct.

  20   Q.      And at the time you prepared your supplemental

  21   report in August of 2017, no one had told you that the

  22   LSRP had already proposed installing additional wells

  23   near 19-D4.      Correct?

  24   A.      That's correct.

  25   Q.      And you now know that in fact the LSRP has
Case 1:08-cv-00312-VSB-VF Document 619-6 Filed 06/04/21 Page 155 of 207
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   1   already installed additional wells in this exact area.

   2   Right?

   3   A.       I was aware that additional wells were being

   4   installed.      I couldn't say for certain whether it was

   5   this area, as I sit here today.

   6   Q.       Let me see if I can refresh your recollection

   7   from the declaration you submitted in connection with

   8   the opposition brief in this case.

   9              Mr. Brown, this is the declaration that you

  10   submitted in support of plaintiffs' opposition to this

  11   Daubert motion?

  12   A.       It is, yes.

  13              On page 4 it makes reference in paragraph 12

  14   to new monitoring wells that ExxonMobil plans in the

  15   vicinity of 19-D4.

  16   Q.       Does this, now looking at this declaration,

  17   refresh your recollection that ExxonMobil has in fact

  18   installed additional monitoring wells at the proximate

  19   location of AQ1, and that they were also designed to

  20   collect depth discrete groundwater samples as you

  21   recommended in your expert report?

  22   A.       Yes.   It does appear ExxonMobil at this

  23   particular location is implementing a program

  24   consistent with the recommendations that I made.

  25   Q.       So because new FLUTe wells have already been
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   1   installed at this spot, your opinions and the costs

   2   associated with them drop out.            Correct?

   3   A.       I would have to review obviously the data for

   4   the completion of the new monitoring wells and

   5   evaluate the impact that would have upon my current

   6   opinions and my cost estimates for the restoration

   7   program.

   8   Q.       And since these wells were installed in the last

   9   year and a half, no one provided that information to

  10   you.     Correct?

  11   A.       I have not received it, no.

  12   Q.       Mr. Brown, isn't the problem with your cost

  13   analysis that if the LSRP agrees with you, you will

  14   make us do the work and could moot your damages claim.

  15   Right?

  16   A.       I would not say that's the problem with it.               I

  17   would have to speculate that they were going to do it.

  18   I do not know, as I sit here, whether they would

  19   implement all of my recommendations.

  20              THE COURT:     Well, I think the question is

  21   simply, if in fact they are all undertaken and the

  22   work is done, it basically limits your damage

  23   calculations.       Correct?

  24              THE WITNESS:      So, yes.     If, for example, the

  25   LSRP or ExxonMobil independently elected to go and
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   1   install the monitoring locations that I recommended in

   2   my 2017 report, and they were in fact installed, then,

   3   clearly, the costs to do that work would need to be

   4   removed because they have just been done, because

   5   ExxonMobil had decided to do something I recommended.

   6   BY MR. LENDER:

   7   Q.      And, of course, the flip side of that is, if the

   8   LSRP disagrees with you, the work might never be done

   9   because the LSRP could just decide it's unnecessary to

  10   delineate the site.         Right?

  11   A.      Well, if the LSRP elected not to do it, or

  12   ExxonMobil independently elected not to do it, then

  13   based upon the data to date, my recommendations

  14   obviously would still stand.           Therefore, I would

  15   believe that work still needs to be done and the cost

  16   associated with that work would still be relevant.

  17   Q.      Do you agree that it would be wrong and

  18   inconsistent with your opinions for the State to

  19   collect money from ExxonMobil to install monitoring

  20   wells and then not actually install them?

  21   A.      I don't think I'm in a position to speak for

  22   what NJDEP might do.         Clearly, my recommendation is

  23   those wells are needed, and I've developed costs to

  24   install those wells, and my understanding is that's

  25   what the State of New Jersey is trying to recover.
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   1   How the State would use those funds, that's beyond my

   2   control.        I still would believe the wells are needed.

   3   Q.       Is there a scenario in your mind where the State

   4   could actually collect damages from ExxonMobil, and

   5   then the LSRP requires us to put those same wells in,

   6   then we're paying for the same twice?

   7   A.       I can't answer that.

   8              THE COURT:     We're dealing with his opinions,

   9   and the issues you are raising are things I will deal

  10   with at some point in time, but they don't go to the

  11   validity of his opinions.          He's giving opinions of

  12   what he thinks are necessary.

  13              MR. LENDER:      Fair enough, your Honor.         Thank

  14   you.

  15              THE COURT:     I understand the points you would

  16   like to make before me today, but it may not be

  17   through this witness.

  18              MR. LENDER:      Fair enough.      Thank you, your

  19   Honor.

  20   BY MR. LENDER:

  21   Q.       Let me now move to the next main opinion which

  22   is the additional $730,000 you are seeking to sample

  23   monitoring wells for the next five years.               Okay?

  24   A.       Yes.     That would be the ongoing monitoring

  25   program.
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   1   Q.      Essentially, your position back in August of

   2   2017, when you issued your revised report was that

   3   on-site active remediation should continue you reached

   4   asymptotic conditions, and after that you should

   5   proceed to MNA for at least five years?

   6   A.      Yes.    That sounds correct.

   7   Q.      And asymptotic conditions are reached when you

   8   basically are no longer recovering contaminant at an

   9   appreciable amount by using the active remediation

  10   system?

  11   A.      That is correct.        You may recall earlier I said

  12   there comes a point where the active remediation is no

  13   more effective than allowing monitored natural

  14   attenuation to then supplement that work.

  15   Q.      At that point what you do is, you shut down the

  16   on-site system and just do monitored natural

  17   attenuation or MNA.         Correct?

  18   A.      That is what I'm proposing, yes.

  19   Q.      Your opinion is that monitored natural

  20   attenuation combined with the ongoing operation of the

  21   pump and treat for a short period of time will

  22   ultimately achieve pre-discharge conditions and that

  23   MNA for a period of five years or slightly longer will

  24   be able to demonstrate that.           Correct?

  25              MR. MILLER:      Objection; compound.
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   1              THE COURT:     You can break it up.

   2              MR. LENDER:      That's actually a direct quote

   3   from his deposition.         That's how he said it.

   4              THE COURT:     If you want to just say, is your

   5   opinion still today what it was at your deposition

   6   that -- and phrase the question.

   7              MR. LENDER:      Okay.

   8   BY MR. LENDER:

   9   Q.      Is it your opinion still today, as you said at

  10   your deposition, that monitored natural attenuation

  11   combined with the ongoing operation of pump and treat

  12   for a short period of time will ultimately achieve

  13   pre-discharge conditions and that MNA for a period of

  14   five years or slightly longer will be able to

  15   demonstrate that?

  16   A.      Based upon the data that I have reviewed up

  17   through the preparation of my expert report, yes,

  18   that's what I concluded.

  19   Q.      So basically you stopped active remediation when

  20   you hit asymptotic conditions, and then you rely on

  21   natural attenuation to finish the cleanup and you

  22   monitor the natural attenuation.             Right?

  23   A.      Yes, that's correct.

  24   Q.      Now, you know, sitting here today, that the LSRP

  25   has approved that the on-site system be turned off
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   1   precisely because it was at asymptotic conditions.

   2   Correct?

   3   A.      I don't recall definitively as I sit here today,

   4   but that sounds correct.

   5   Q.      Let's see if we can refresh your recollection

   6   one more time.

   7              Mr. Brown, I'm handing you a copy of the

   8   second declaration you filed in connection with the

   9   Daubert motions in this case, and if you could turn to

  10   paragraph 17, and let's see if that refreshes your

  11   recollection that the pump and treat was turned off

  12   because it had reached asymptotic conditions?

  13   A.      Yes.    I see that now.       ExxonMobil planned to

  14   shut down the system on August 30, 2017.

  15   Q.      And given that, now it's your opinion that MNA

  16   should take place for at least five years.                Right?

  17   A.      That's correct.

  18   Q.      It may be a little more than that.             But you

  19   think five years of MNA is a reasonable timeframe.

  20   Correct?

  21   A.      I did, yes.      You may recall that we did analysis

  22   of various rates of degradation and determined that

  23   MNA would take between five and seven years.

  24   Therefore, we conservatively took the shorter time

  25   period.
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   1              THE COURT:     Would it be that the five years

   2   actually began on August 30, 2017?

   3              THE WITNESS:      Essentially, yes.

   4              THE COURT:     So we're essentially 1 1/2 years

   5   in?

   6              THE WITNESS:      Yes.    Obviously, the program may

   7   run longer if the natural attenuation processes are

   8   slower.

   9              THE COURT:     Right.     But you were working with

  10   the five years.       So it's actually begun.

  11              THE WITNESS:      Yes.

  12   BY MR. LENDER:

  13   Q.       So it's your opinion we will ultimately achieve

  14   pre-discharge conditions and that MNA for five years

  15   or slightly longer will be able to demonstrate that.

  16   Right?

  17   A.       That is my opinion and I think my hope.

  18   Q.       And that's the reason why your cost analysis

  19   includes five years of monitoring.             Correct?

  20   A.       As I said, we elected to choose five years based

  21   upon the analysis that we did for the likely rates of

  22   degradation, and five years would be the minimum time.

  23   It may be longer, but I'm hoping not much longer.

  24   Q.       At the conclusion of five years of MNA,

  25   according to your opinions, ExxonMobil might be done
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   1   at the Livingston site.          Right?

   2   A.       There is a chance of that, yes.

   3   Q.       And, again, just so we're all clear, it's the

   4   natural attenuation that's going to get us there.

   5   Right?

   6   A.       It's the natural processes that actually result

   7   in the reduction of transportations as confirmed by

   8   the monitoring.

   9   Q.       In fact, there is no question in your mind that

  10   the remediation program at Livingston has helped

  11   groundwater to its pre-discharge condition.                Correct?

  12   A.       There is no question that the work implemented

  13   by ExxonMobil, specifically their remediation program,

  14   has assisted in reducing the concentrations that

  15   hopefully will ultimately achieve a pre-discharge

  16   condition.

  17   Q.       In your opinion, though, to be clear, the

  18   remediation program at the Exxon service site helped

  19   restore groundwater to its baseline condition.

  20   Correct?

  21   A.       Yes, that sounds consistent with what I offered

  22   at my deposition testimony.

  23   Q.       And "baseline," just so we're clear, you mean

  24   pre-discharge conditions.          Right?

  25   A.       That is what I meant, yes.
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   1   Q.      Now, you understand that there are currently

   2   over 50 monitoring locations in connection with the

   3   Livingston site.        Correct?

   4   A.      That's my understanding.            Approximately that

   5   number.

   6   Q.      And as we discussed, you are proposing to add 21

   7   more screened intervals.           Right?

   8   A.      Yes.     But as we discussed, we know that

   9   ExxonMobil has already installed some of those

  10   locations near 19-D4.

  11   Q.      Right.     So your cost estimate is going to have

  12   to be adjusted to account for that.                Right?

  13   A.      That is correct.        Once I review that data, if it

  14   appears that they have completed a monitoring program

  15   that is consistent with my recommendation, then there

  16   would be no need to drill an additional cluster well

  17   in that location.

  18   Q.      Now, the $730,000 you have included in your

  19   damages assessment covers the cost not just for

  20   monitoring the 21 new wells you are seeking to get

  21   installed, but also the existing wells that the LSRP

  22   is currently monitoring and sampling.                Correct?

  23   A.      Correct.

  24   Q.      So 70 percent of the cost associated with your

  25   $730,000 alleged damages number relates to the
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   1   existing monitoring wells.           Right?

   2   A.       Yes.   The ongoing monitoring of those existing

   3   wells.

   4   Q.       So your $730,000 amount, only around 220,000 is

   5   attributed to monitoring the 21 new wells you are

   6   proposing to install over the next five years.                 Right?

   7   A.       I don't know the exact number.            But that would

   8   seem to be a reasonable division of those costs, yes.

   9   Q.       And you understand and you understood this when

  10   you issued your report that the LSRP has been

  11   requiring that existing wells be monitored, and that's

  12   being paid for by ExxonMobil.            Right?

  13   A.       That's my understanding, yes.

  14   Q.       So if ExxonMobil would continue to pay for

  15   monitoring the existing wells going forward, the

  16   510,000 would actually already be accounted for and

  17   should not be included in your damages calculation.

  18   Right?

  19   A.       If ExxonMobil had somehow legally committed to

  20   do that work, then I would not obviously look to

  21   recover funds to duplicate work.

  22   Q.       And even though you knew that the LSRP was

  23   requiring monitoring of the existing wells, you

  24   included the full amount of monitoring all the wells

  25   in your cost calculation.          Right?
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   1   A.      I did.     So all of the costs of the monitoring

   2   moving forward irrespective of who might actually do

   3   it, I assumed that in the case of the costs it would

   4   have to be done.

   5   Q.      But for the ongoing cost associated with the

   6   pump and treat, until it was turned off, because of

   7   asymptotic, you knew ExxonMobil was paying for that

   8   but you excluded those costs.            Right?

   9   A.      Correct.     I could see that ExxonMobil was

  10   continuing to do that.          Therefore, I did not include

  11   that.

  12   Q.      So you treated the pump and treat costs

  13   differently than the monitoring costs?

  14   A.      Yes.     I understood from my review of the

  15   documentation that ExxonMobil was committed to

  16   continuing to operate the on-site pump and treat

  17   system.     And I understood they would be doing some

  18   ongoing monitoring, but I did not see anything to

  19   confirm for how long they would be doing that.

  20   Q.      And as we discussed just a moment ago, the LSRP

  21   has already required the installation of monitoring

  22   wells north of 19-D4.         Right?

  23   A.      They have.      They made a decision consistent with

  24   my recommendation in that area to install additional

  25   monitoring points.
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   1   Q.       And they've required those monitoring wells also

   2   be monitored.       Right?

   3   A.       I cannot say for certain, but I would assume

   4   that to be the case.

   5   Q.       So those would be additional monitoring costs

   6   that should be taken out of your cost estimate.

   7   Right?

   8   A.       They would be if there was some legal commitment

   9   to do that work that I felt confident that it would be

  10   done.

  11   Q.       And, of course, if the LSRP decides to install

  12   additional wells in the future and those are

  13   monitored, that too could cut into your monitoring

  14   cost assessment.        Right?

  15   A.       Yes, it could.      Obviously, if they, say, for

  16   example, elected to install some of the other

  17   monitoring wells that I recommended, then, clearly, I

  18   would not look to duplicate their work.               But I would

  19   have to obviously review that work to ensure that the

  20   work had actually been done and not just promised.

  21   Q.       Mr. Brown, sitting here today, you don't

  22   actually know how much of the $730,000 you included

  23   for monitoring costs over a five-year period will turn

  24   out to be duplicative.           Correct?

  25   A.       I do not because I do not know for certain
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   1   exactly what ExxonMobil plans to do with respect to

   2   that number.

   3   Q.      Now, Mr. Brown, after the LSRP files its

   4   remediation investigation report in March of 2019, you

   5   understand that the LSRP will be required to file its

   6   remedial action report and seek a remedial action

   7   permit from the DEP by March 2024.             Correct?

   8   A.      I don't recall the specific date, but that does

   9   sound reasonable.

  10   Q.      And the remediation investigation report may

  11   update the CEA based on any new data that the LSRP

  12   has.    Right?

  13   A.      It may.

  14   Q.      And the remediation action permit will contain a

  15   proposal for future MNA and for how long MNA should

  16   continue.       Correct?

  17   A.      It may.

  18   Q.      Okay.     It may.

  19              And you understand that the DEP needs to

  20   approve the remedial action permit which will identify

  21   the wells to be monitored going forward for MNA and at

  22   what frequency.       Right?

  23   A.      I do not know the specific legal approval

  24   authorities of DEP with respect to that specific issue

  25   as I sit here.
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   1              MR. LENDER:      Your Honor, we could either

   2   submit the regs and show this to you because the regs

   3   say what they say or I could go through them with him.

   4              THE COURT:     No.    I would rather do it after.

   5   I'm going to permit everyone to have a, not lengthy,

   6   but a final written summation you can give me after

   7   this hearing and you could include those kinds of

   8   things there.       I don't think it's a good use of our

   9   time to do that with him.

  10              MR. LENDER:      I didn't either.         That's why I

  11   wanted to check.        Thank you.

  12   BY MR. LENDER:

  13   Q.      Mr. Brown, you understand that MNA cannot be

  14   authorized for use at the site until the contamination

  15   is adequately characterized and delineated.                   Right?

  16   A.      Actually, that's not quite true.              Monitored

  17   natural attenuation is being conducted now and it's

  18   even conducted while the remediation system is

  19   operating.      We are monitoring the groundwater

  20   conditions at the site and monitoring natural

  21   attenuation.

  22              So it's an ongoing process.             It isn't

  23   something that only starts at the end of the active

  24   remediation, the actual pump and treat.                What I'm

  25   recommending is five years after it continues.
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   1   Q.       Your opinion, as the Judge said, starting in

   2   August of 2017, we are now in a five-year period of

   3   MNA?

   4   A.       At this particular site, yes.

   5   Q.       But you know that in fact at the site MNA is

   6   going to occur for much longer than five years.

   7   Right?

   8   A.       MNA or natural attenuation itself?

   9   Q.       MNA and natural attenuation.

  10   A.       Potentially.     I do not know what they would

  11   recommend within their reports.            But there is the

  12   potential that it could be recommended to continue for

  13   longer than that.

  14   Q.       Now, Mr. Brown, the third thing that you had

  15   recommended in your latest report is that a system be

  16   designed and permitted for Public Water Supply No. 11

  17   in the event that MTBE is detected in that well in the

  18   future.     Correct?

  19   A.       That is one of the recommendations that I made

  20   within my report.        But my understanding is that claim

  21   is being withdrawn.

  22   Q.       Yesterday your side abandoned that claim.

  23   Correct?

  24   A.       My understanding is they withdrew the claim for

  25   the $70,000.
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   1   Q.      And you had mentioned in response to a question

   2   from Mr. Miller that there has been no MTBE detected

   3   at Public Water Supply No. 11 and I wrote down in the

   4   last few years.       That's what you said.          Right?

   5   A.      That's my understanding.

   6   Q.      In fact, your understanding is that since 2009

   7   Public Water Supply No. 11 has been sampled 28 times

   8   and MTBE has been non-detect in every single one of

   9   them.     Right?

  10   A.      That's my understanding, yes.

  11   Q.      So it's not just the last few years; it's almost

  12   a decade.      Correct?

  13   A.      That sounds correct, yes.

  14   Q.      And, by the way, for the other two receptors you

  15   identified in response to some questions from

  16   Mr. Miller, to be clear, your side is not seeking any

  17   damages to clean up those receptors.               Right?

  18   A.      That's correct.       I don't believe my client is

  19   seeking any damages for those.

  20   Q.      The last thing you mentioned is that you are

  21   seeking a contingency of $247,000, which now may be a

  22   little less, to account for the drop-off of the

  23   permit?

  24   A.      Correct.

  25   Q.      Basically, you added a 15 percent kicker on top
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   1   of the cost estimates.          Right?

   2   A.      I've added the contingency, as I discussed

   3   earlier, because of the inherent uncertainties in

   4   implementing the type of program I'm recommending.

   5   Q.      And nowhere in your report do you provide any

   6   calculation of how you came up with that 15 percent

   7   number.     Right?

   8   A.      Actually, I believe we do.           For the sites we

   9   evaluated we used a contingency based on EPA's

  10   calculations of contingency for estimates, such as the

  11   ones we prepared.        And because of the limited scope of

  12   work and the limited amount of remediation that were

  13   proposed for Exxon, we actually reduced that

  14   percentage, as we felt there was a higher degree of

  15   confidence in the cost for the ExxonMobil site.

  16   Q.      So your testimony is that in your report I'll

  17   find a sheet of paper that calculates, comes up with

  18   how you came up with the 15 percent number.                That's

  19   your testimony?

  20   A.      I don't know if there's a piece of paper.                  There

  21   will be an indication as to the percentage.

  22   Q.      It said 15 percent.        But you said earlier that's

  23   calculated based on using EPA guidance.

  24              My question to you is, if I look through your

  25   reports, will I see anywhere a document that shows how
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   1   you came up with the 15 percent number?

   2   A.      The document will show how we came up with a

   3   larger percentage.        But for this particular site we

   4   felt that percentage was too high.

   5   Q.      So you think there's a sheet of paper that lays

   6   out that calculation in your report?

   7   A.      There is a sheet of paper that lays out the

   8   calculation for the contingency we applied for sites

   9   where we were recommending active remediation that was

  10   not being performed by the responsible party.

  11   Q.      So not for the Livingston site then?

  12   A.      For the Livingston site we actually looked on a

  13   site-specific basis and said, Well, we have a much

  14   more defined scope here as to what's going to be done,

  15   and we're not recommending any active remediation

  16   other than ExxonMobil continue to operate their

  17   current system.       Therefore, we felt the contingency

  18   that would apply to other sites didn't need to be as

  19   large for this site.

  20   Q.      And the reason why you are seeking this

  21   contingency in the case is that things cost more than

  22   you have proposed.        Right?

  23   A.      Yes.    Obviously, I'm sure you are aware that

  24   when you drill a monitoring well, one gets an estimate

  25   as to     what that well might cost.          But in the field
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   1   you could come across issues where the bedrock is more

   2   confident.      Therefore, the drilling takes longer, so

   3   the costs are greater.

   4              There are other issues that occur whenever one

   5   is doing a remedial investigation or remedial

   6   implementation program that requires you to have some

   7   contingency for those uncertainties.

   8   Q.      And, of course, because a lot of the wells are

   9   being drilled in places where there already are wells,

  10   it's possible that it might cost what you've proposed

  11   or even less than what you've proposed.               Right?

  12   A.      I would be very surprised if it cost less

  13   because we actually obtained fixed prices from the

  14   driller, and my experience with drillers is they don't

  15   give you a discount if it takes them less.                They still

  16   charge you their bid.         Obviously, if they think

  17   conditions have changed, they issue a change order to

  18   get more money.

  19   Q.      And if the DEP makes us do the work, there will

  20   be no need for a contingency.            Right?

  21   A.      If ExxonMobil elects to do the work, then

  22   obviously I would not be seeking to recover the cost

  23   to do that work or the related contingency, just as

  24   we've removed the 60,000 for the well and treatment

  25   system and the contingency associated with that.
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   1              MR. LENDER:      Your Honor, my colleague said he

   2   needed about 30 minutes.

   3              THE COURT:     Are you going to need more than 30

   4   minutes?

   5              MR. TULLY:     Maybe

   6              THE COURT:     I have a suggestion actually

   7   because I think I'm going to want to speak with the

   8   attorneys when this is all complete.               I won't have

   9   time to do that today.           I'm not trying to press you to

  10   do your 30 minutes and be done, particularly if there

  11   is anything else we want to cover.

  12              I know we had put aside the days.            I would

  13   really prefer if you come back tomorrow morning and we

  14   spend the morning.        We're not going to need more than

  15   the morning.       You can do your examination then.               We

  16   could fill in on anything else that we need.

  17              I certainly want to have some discussion with

  18   the lawyers about the Livingston site off the record

  19   in chambers tomorrow.         So I would like that

  20   opportunity.

  21              MR. LENDER:      Thank you.

  22              THE COURT:     You are all planning to be here

  23   tomorrow anyway.        Right?

  24              MR. MILLER:      Yes, your Honor.

  25              MR. TULLY:     Will you also entertain brief oral
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   1   arguments on the motions?

   2              THE COURT:     I may do that.       I thought I would

   3   let you do it in written form.            But I have the time

   4   now to do it, if you want to do it tomorrow and you

   5   don't have to submit anything else in writing, that's

   6   fine too.      So if you all want to be ready to do that,

   7   not long, that's fine, we can do that and you can

   8   prepare for that tonight then for tomorrow.

   9              You can step down.        You are excused.

  10              I'll see you tomorrow morning at 10:00.

  11              THE WITNESS:      Thank you.

  12              (Witness excused for the day.)

  13              THE COURT:     May I see counsel for just one

  14   moment off the record.

  15              (Off-the-record discussion.)

  16              (Court adjourned at 3:30 p.m.)

  17   ///

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   1                                 I N D E X

   2

   3   Witness                      Direct      Cross   Redirect    Recross

   4

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   1                         C E R T I F I C A T E

   2

   3         I, Vincent Russoniello, Official United States

   4   Court Reporter and Certified Court Reporter of the

   5   State of New Jersey, do hereby certify that the

   6   foregoing is a true and accurate transcript of the

   7   proceedings as taken stenographically by and before me

   8   at the time, place and on the date hereinbefore set

   9   forth.

  10         I do further certify that I am neither a relative

  11   nor employee, nor attorney, nor counsel of any of the

  12   parties to this action, and that I am neither a

  13   relative nor employee of such attorney or counsel and

  14   that I am not financially interested in this action.

  15

  16

  17

  18

  19   S/Vincent Russoniello

  20   Vincent Russoniello, CCR

  21   Certificate No. 675

  22

  23

  24
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